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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

KRISTEN E. JONES,                                  §
                                                   §
                        Plaintiff,                 §
                                                   §
v.                                                 §    CIVIL ACTION NO. H-03-2286
                                                   §
BILL WHITE, CITY OF HOUSTON,                       §
SHIRLEY DELIBERO, et al.,                          §
                                                   §
                        Defendants.                §

                               MEMORANDUM AND ORDER

        In this disability discrimination case, plaintiff Kristen E. Jones sued the City of

Houston and its mayor, Bill White (together, the “City”), and the Metropolitan Transit

Authority of Harris County and its president and chief executive officer, Shirley Delibero

(together, “METRO”). Jones alleged violations of Title II of the Americans with Disabilities

Act, 42 U.S.C. §§ 12131 et seq.; section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §

794; Chapter 121 of the Texas Human Resources Code; and Article 9102 of the Texas

Revised Civil Statutes.1 (Docket Entry No. 19). Jones alleged that the City and METRO

discriminate against the disabled by failing to provide wheelchair access to streets,

crosswalks, and sidewalks affected by roadway and utility construction. (Id. at ¶ 2). Jones




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           Article 9102 of the Texas Revised Civil Statutes, the Texas Architectural Barriers Act, is now
codified at Chapter 469 of the Texas Government Code. Tex. Govt. Code §§ 469.001-.208 (Vernon Supp.
2004).
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also alleged that defendants’ existing facilities are inaccessible to persons in wheelchairs.

(Id. at ¶ 3).

        This court resolved a number of legal issues in a previous Memorandum and Order,

(Docket Entry No. 64). Jones has moved for reconsideration of certain aspects of that

decision. (Docket Entry No. 106). Jones also sought interim attorneys’ fees. (Docket Entry

No. 92). This court held a five-day evidentiary hearing as to the nature and extent of the

relief Jones sought. The parties filed posthearing briefs and the City submitted more current

information on the criteria it used to replace or modify certain curb ramps and the status of

such work. (Docket Entry Nos. 108–11, 127, 132–34, 137, 138).

        After reviewing the motions, briefs, and responses; the testimony and exhibits; the

record; and the governing law, this court: finds that Jones’s claims against METRO lack

necessary legal and factual support and are dismissed; grants in part and denies in part

Jones’s claims for relief against the City; grants in part and denies in part Jones’s request for

a permanent injunction against the City; and denies Jones’s request for interim attorneys’

fees. The parties are ordered to advise this court as to the issues remaining in this case,

including damages and fees, and a proposed schedule for resolving them, no later than

September 15, 2006. A hearing will be held on September 26, 2006, at 10:00 a.m. to set

a schedule to conclude this case. The reasons are explained below.

I.      Background




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       Jones resides in Houston, Texas. She is a quadriplegic who uses a wheelchair. Jones

has served on the City’s Commission on Disabilities, advising and making recommendations

to City officials on the needs of the disabled. (Docket Entry 20, Ex. C at 189–90).

       METRO is a government entity created under Texas Transportation Code § 451.052.

It provides and facilitates mass transit within the Houston, Texas area. (Docket Entry No.

32 at 11).

       The City of Houston is a municipality incorporated in the State of Texas and is

responsible for the construction, operation, and maintenance of the streets and highways

within the City limits. (Docket Entry No. 19, ¶ 10).

       This case involves two projects, the City’s Spur 527 Traffic Mitigation Plan and

METRO’s Regional Computerized Traffic Control System project (the “RCTCS Project”).

The City is reconstructing U.S. Route 59 near downtown Houston. The City’s Spur 527

Traffic Mitigation Plan is a companion project designed to relieve the increased traffic

expected in the neighborhoods around U.S. 59 during the Spur 527 reconstruction. At a

previous hearing, Rickey Grochoske, a City traffic engineer familiar with the Spur 527

Traffic Mitigation Plan, testified that the Plan includes changing lane striping, removing

bicycle lane markings, and transforming a major street – West Alabama Street – from two

to three lanes with the center lane reversible. (Docket Entry No. 24, Ex. 35I, at 155–162).

Grochoske reported that the Spur 527 Traffic Mitigation Plan includes street resurfacing in

certain areas. When the City resurfaced these streets, it milled down the surface, poured new

asphalt, and adjusted the manhole covers to accommodate the new street level.

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       METRO’s RCTCS Project is designed to “update signal devices and adjacent areas

to increase mobility and to better handle traffic flow and general transportation.” (Docket

Entry No. 12, ¶ 16). Under the RCTCS Project, “signals are being upgraded to include

communications equipment to allow communication between the signals, TranStar, METRO

buses, and emergency vehicles.” (Docket Entry No. 32, ¶ 63). METRO’s Director of

Traffic, Eugene Smith, explained the RCTCS Project:

               Related to the functions we’re providing, we are enhancing
               traffic signals such that they are providing a communications
               link from the intersection back to a central control point at a
               building called Houston TranStar. We are upgrading the
               computer, which controls the traffic signal indications to a
               modern solid state model. We are providing a feature that is
               called transit signal priority that will enable a bus to request
               some extra green time to enhance schedule reliability and also
               allows an emergency vehicle such as an ambulance to request a
               more immediate green light for a situation where they would be
               responding to an emergency.

(Docket Entry No. 32, Ex. 7 at 32). Jeff Sargent, Jr., METRO’s Manager of the RCTCS

Project, clarified that the Project includes “only those items that were necessary to modernize

the traffic signal equipment at each intersection, address transit signal priority, and assure

that each intersection is ready to be a part of a system-wide communications network that

will connect all traffic signals to a central control facility in the near future.” (Ex. 32 at 5).

       METRO’s RCTCS Project covers over 1,350 intersections across the City of Houston.

METRO is replacing traffic signal poles, which can require construction work on the

surrounding sidewalk area, in a small percentage of these intersections. METRO is

performing electrical work on existing traffic signal poles without replacing them in most of

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the City intersections. (Ex. 31). According to a City contractor, “the project consists of

replacing traffic signal controllers and controller cabinets, replacing traffic signal heads,

installing   new   loop    detectors,   installing   bus   preemption,     re-cabling    some

intersections . . . and replacing some signal poles.” (Ex. 32 at 3).

       Jones filed this suit on June 27, 2003 and moved for a temporary restraining order.

(Docket Entry No. 3). This court held a hearing and denied Jones’s TRO application on July

10, 2003. Jones then filed a motion for preliminary injunction or, alternatively, for partial

summary judgment, asking this court to enjoin defendants from impairing wheelchair access

through or around temporary construction zones and from altering streets or working on

traffic signal poles without maintaining or providing accessible sidewalks, curb ramps, and

crosswalks for the altered streets and intersections. (Docket Entry No. 24 at ¶ 1). In the

alternative, Jones moved for summary judgment as to whether defendants’ street resurfacing

and traffic pole improvements qualify as “alterations” that triggered the federal accessibility

requirements of 28 C.F.R. § 35.151. (Id. at ¶ 13).

       In a previous Memorandum and Order, this court granted Jones’s motion for summary

judgment in part and denied it in part. This court held that resurfacing a street from

intersection to intersection is an “alteration” under the ADA, 28 C.F.R. § 35.151, and

requires the City to install curb ramps to meet ADA requirements. This court rejected

Jones’s argument that the City would also have to make the entire length of the sidewalk

between the curb ramps compliant with the ADA accessibility regulations for altered

facilities if the City had resurfaced the adjacent street. This court held that when METRO

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installs a new traffic signal pole at an intersection, it alters the sidewalk area in which the

pole is placed, triggering the requirement that the altered area comply with the ADA

accessibility regulations for altered facilities. (Docket Entry No. 64 at 45–46).

        This court denied Jones’s motion for a preliminary injunction because the record

contained no details as to the curbs on resurfaced streets and the sidewalks around newly

installed traffic signal poles were, or were not, ADA-compliant or as to any corrective work

required. This court ordered an evidentiary hearing to address the outstanding issues. At the

evidentiary hearing, this court heard testimony from Jones; Ken Otten, Jones’s accessibility

expert; Teresa Darr, the City’s accessibility expert; Reid Msnry, who oversees and manages

the construction for the City’s capital improvement projects, including street resurfacing for

the Spur 527 Traffic Mitigation Plan; Daniel Krueger, Deputy Director for Engineering and

Construction of the City of Houston Public Works Department; and Eugene Smith,

METRO’s Director of Traffic. After that hearing, this court requested further briefing on

certain legal issues. Resolving the permanent injunction request is now appropriate.

II.     The Legal Standards and the Issues to be Decided

        Jones seeks a permanent injunction enjoining the defendants from: violating the ADA;

§ 504 of the Rehabilitation Act; Jones’s First and Fourteenth Amendment rights; altering any

streets to eliminate or compromise the safety of bike lanes; resurfacing or reconstructing or

otherwise altering West Alabama Street or any other street without installing sidewalks

where missing or without bringing the adjacent sidewalks and curb ramps into ADA

compliance; altering intersections to enlarge the curb radius where it would decrease

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pedestrian safety or convenience; closing intersections to pedestrian crossings; erecting or

maintaining traffic control devices that do not comply with the Texas and FHWA Manuals

of Uniform Traffic Control Devices; failing to erect and maintain traffic control devices

required under the FHWA and/or Texas Manual of Uniform Traffic Control Devices;

installing curb ramps or sidewalks that fail to comply with the ADA; and issuing permits that

will result in the installation or modification of curb ramps and sidewalks that fail to comply

with the ADA. (Docket Entry No. 19, ¶ 3). Jones also seeks actual or statutory damages for

each violation of Chapter 121 of the Texas Human Resources Code and her costs and

attorneys’ fees. (Id. at ¶¶ 5–6).

       A.     The Permanent Injunction Standards

       To obtain a permanent injunction, a plaintiff must establish all of the elements

required for a preliminary injunction—a substantial threat that she will suffer irreparable

injury absent the injunction; that the threatened injury outweighs any harm the injunction

might cause the defendants; and that the injunction will not impair the public interest—in

addition to showing success on the merits. Amoco Prod. Co. v. Village of Gambell, 480 U.S.

531, 546 n.12 (1987); Dresser-Rand Co. v. Virtual Automation, Inc., 361 F.3d 831, 847–48

(5th Cir. 2004).

       B.     A Public Entity’s Obligations Under the ADA

       Title II of the ADA prohibits discrimination against the disabled in the provision of

public services. Title II states that “no qualified individual with a disability shall, by reason

of such disability, be excluded from participation in or be denied the benefits of the services,

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programs, or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132. A “public entity” includes “any department, agency, special

purpose district, or other instrumentality of a State or States or local government.” 42 U.S.C.

§ 12131(1)(B). To establish a violation of Title II, a plaintiff must prove that (1) she is a

“qualified individual with a disability”; (2) she is being excluded from participation in or

being denied the benefits of some service, program, or activity by reason of her disability;

and (3) the entity which provides the service, program, or activity is a public entity. Civic

Assoc. of the Deaf of New York City, Inc. v. Giuliani, 970 F. Supp. 352, 358 (S.D.N.Y. 1997).

       Section 504 of the Rehabilitation Act similarly provides that “[n]o otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded

from the participation in, be denied the benefits of, or be subjected to discrimination under

any program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a). Title

II of the ADA extends the protections of the Rehabilitation Act “to cover all programs of

state or local governments, regardless of the receipt of federal financial assistance.” Hainze

v. Richards, 207 F.3d 795, 799 (5th Cir. 2000). Because the ADA specifically incorporates

the rights and remedies available under the Rehabilitation Act, cases interpreting either

statute apply to both. See 42 U.S.C. § 12133; Hainze, 207 F.3d at 799; Delano-Pyle v.

Victoria County, Tex., 302 F.3d 567, 574 (5th Cir. 2002).

       Title II directs the Attorney General to promulgate regulations implementing the

statute. 42 U.S.C. § 12134(a). The Attorney General has issued those regulations at Title

28, part 35, of the Code of Federal Regulations, for “all services, programs, and activities

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provided or made available by public entities.” 28 C.F.R. § 35.102(a). Part 35 addresses the

accessibility of government “facilities,” including roads, walks, and passageways. See 28

C.F.R. § 35.104, codified at 28 C.F.R. §§ 35.149–35.151.

       The regulations distinguish between newly constructed or altered facilities and

existing facilities. Section 35.150 governs “existing facilities.” It generally requires a public

entity to “operate each service, program, or activity so that the service, program, or activity,

when viewed in its entirety, is readily accessible to and usable by individuals with

disabilities.” 28 C.F.R. § 35.150(a). The program-access requirements for existing facilities

under § 35.150 is more flexible and less stringent than requirements for newly constructed

or altered facilities under § 35.151. See Title II Preamble, Pt. 35, App. A at 492 (program-

access requirement, which is lower than the standards for new facilities, applies to existing

facilities); Preamble to Regulation on Nondiscrimination on the Basis of Disability by Public

Accommodations and in Commercial Facilities (“Title III Preamble”), Pt. 36, App. B at 645

(“In striking a balance between guaranteeing access to individuals with disabilities and

recognizing the legitimate cost concerns of businesses and other private entities, the ADA

establishes different standards for existing facilities and new construction.”). As to existing

facilities, the regulations do not require a public entity to take action that would result in a

“fundamental alteration in the nature of a service, program, or activity” or in “undue financial

and administrative burdens.” 28 C.F.R. § 35.150(a)(3). An “existing facility” is one that was

in place when the ADA became effective on January 26, 1992. 28 C.F.R. § 35.151(a).



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       In contrast to the flexible concept of accessibility permitted for existing facilities, the

regulations for new construction and alterations are more specific and more demanding.

Kinney v. Yerusalim, 9 F.3d 1067, 1071 (3d Cir. 1993); Ability Ctr. of Greater Toledo v. City

of Sandusky, 133 F. Supp. 2d 589, 591 (N.D. Ohio 2001); Giuliani, 970 F. Supp. at 359.

Section 35.151 provides in pertinent part:

              (b) Alteration. Each facility or part of a facility altered by, on
              behalf of, or for the use of a public entity in a manner that
              affects or could affect the usability of the facility or part of the
              facility shall, to the maximum extent feasible, be altered in such
              manner that the altered portion of the facility is readily
              accessible to and usable by individuals with disabilities . . . .

              (c) Accessibility standards. Design, construction, or alteration
              of facilities in conformance with . . . the Americans with
              Disabilities Act Accessibility Guidelines for Buildings and
              Facilities (ADAAG) (Appendix A to 28 C.F.R. part 36) shall be
              deemed to comply with the requirements of this section . . . .

              (e) Curb Ramps

                      (1) Newly constructed or altered streets, roads,
                      and highways must contain curb ramps or other
                      sloped areas at any intersection having curbs or
                      other barriers to entry from a street level
                      pedestrian walkway.

                      (2) Newly constructed or altered street level
                      pedestrian walkways must contain curb ramps or
                      other sloped areas at intersections to streets,
                      roads, or highways.




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28 C.F.R. § 35.151(b)–(c), (e)(1)–(2). The obligation of accessibility for new or altered

facilities, unlike the obligation for existing facilities, does not allow for noncompliance based

on burden.2

        The ADA regulations do not provide specific objective compliance criteria for

existing facilities. Section 35.150(a) requires reasonable accessibility and usability of the

“service, program, or activity” viewed in its entirety. The parties dispute how to define

“reasonable accessible to and usable by individuals with disabilities” under § 35.150(a) as

applied to the aspects of curb ramps and sidewalks at issue in this case. The accessibility

consultants who provided testimony under Rule 702 of the Federal Rules of Evidence agreed

that “usability” determines whether an existing curb ramp is ADA-compliant and that this

standard is necessarily subjective. Ken Otten testified on Jones’s behalf that it is appropriate

to use the new construction or altered facilities ADAAG standards found at Appendix A to


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                  The Texas laws under which Jones brings suit are consistent with the requirements of the
ADA and the Rehabilitation Act. (Docket Entry No. 19, ¶¶ 52-61). Chapter 121 of the Texas Human
Resources Code provides that “No person with a disability may be denied admittance to any public facility
in the state because of the person’s disability.” TEX. HUM. RES. CODE § 121.003(c). The statute defines
“public facility” to include streets, sidewalks and walkways. Id. at § 121.002(5). The statute adds that the
discrimination it prohibits includes a failure comply with Article 9102. Id. at § 121.003(d)(1). The Texas
legislature has recodified Article 9102, the Texas Architectural Barriers Act (“TABA”), at Chapter 49 of the
Texas Government Code. See Spector v. Norwegian Cruise Line Ltd., 2004 WL 637894, at *9 (Tex.
App.—Houston Mar. 30, 2004, no pet.). TABA charges the Texas Commission of Licensing and Regulation
with adopting various architectural standards and rules which it publishes at Title 16, chapter 68 of the Texas
Administrative Code. TEX. GOVT. CODE § 469.052; 16 TEX. ADMIN. CODE ch. 68 (West 2003). Pursuant to
this authority, the Commission has adopted the Texas Accessibility Standards (“TAS”), which establish a set
of technical requirements for the construction of facilities modeled after ADAAG. See id.; Sapp v. MHI
P’ship, Ltd., 199 F. Supp. 2d 578, 587–88 (N.D. Tex. 2002). The Commission has defined “facilities” to
mean “[a]ll or any portion of buildings, structures, site improvements, complexes, equipment, roads, walks,
passageways, parking lots, or other real property located in the State of Texas.” 16 TEX. ADMIN. CODE
§§ 68.10(10). In general, Texas courts interpret Texas antidiscrimination laws as consistent with the federal
counterparts. See Caballero v. Cent. Power & Light Co., 858 S.W.2d 359, 361 (Tex. 1993); Grady v. City
of Ft. Worth, 2002 WL 63010, *3 n.2 (N.D. Tex. Jan. 8, 2002).

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28 C.F.R. part 36 and the TAS standards found in the Texas Administrative Code in

assessing whether existing facilities meet the “usability” test, but acknowledged that no hard-

and-fast criteria for “usability” are set out in the regulations. (Docket Entry No. 122 at 266).

The City’s accessibility consultant, Teresa Darr, testified that existing facilities are not

subject to the objective standards of ADAAG and TAS that govern newly constructed or

altered facilities. Darr and Otten agreed that there are no specific “usability” criteria.

(Docket Entry No. 122 at 307).

       The ADAAG and TAS standards that apply to newly built or altered curb ramps

subject to § 35.151(e) are very specific. See 28 C.F.R. Pt. 36, App. A (ADA Accessibility

Guidelines For Buildings and Facilities, “ADAAG”). A ramp may not have a slope

exceeding 8.33 percent, or 1:12 rise-over-run measurement. ADAAG § 4.8.2. The cross-

slope may not exceed 2 percent or a 1:50 rise-over-run measurement. Id. at § 4.7.2. The

transition between the ramp and street surface must have a grade of 5 percent or less, or a

1:20 rise-over-run measurement. Id. at § 4.8.6. Under the most recent version of ADAAG,

the area at the top and bottom of a curb ramp must have a level landing, which must be at

least as wide as the ramp leading to it and be a minimum of 60 inches clear. Id. at § 4.8.4.

The ADAAG does allow some deviation for “conventional building industry tolerances for

field conditions,” (id. at § 3.2), which the experts described as permitting an approximately

1 percent deviation for most measurements, but the standards are precise and objective.

       The “usability” standard for existing facilities allows more discretion. This court must

determine whether the existing roads and sidewalks in the relevant area, viewed as a whole,

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are readily accessible to disabled persons. 28 C.F.R. § 35.150; Ass’n for Disabled Americans

v. City of Orlando, 153 F. Supp. 2d 1310, 1320–21 (M.D. Fla. 2001); Pascuiti v. N.Y.

Yankees, 87 F. Supp. 2d 221, 226 (S.D.N.Y. 1999). In Pascuiti, the court examined the

relationship between the ADAAG standards, which are objective, with the looser, more

subjective “usability” standard:

              [E]ven though only new construction and alterations must
              comply with the [ADAAG] Standards, those Standards
              nevertheless provide valuable guidance for determining whether
              an existing facility contains architectural barriers. . . . Thus,
              plaintiffs are allowed to compare facilities at the Stadium with
              the requirements laid out in the Standards as part of their effort
              to establish individual barriers to access.

              Allowing plaintiffs to use the Standards in this manner does not
              alter the ADA’s lesser requirements for existing facilities. It is
              the “readily achievable” requirement, defined as “easily
              accomplishable and able to be carried out without much
              difficulty or expense,” 42 U.S.C. § 12181(9), that provides the
              lesser standard for existing facilities under Title III. In order to
              establish that the City has violated the ADA, plaintiffs still
              would have to: (1) prove that the Stadium, viewed in its entirety,
              is not readily accessible to and usable by individuals with
              disabilities; and (2) suggest a plausible method of making the
              Stadium readily accessible, the costs of which, facially, do not
              clearly exceed its benefits. The program access requirement,
              which mandates that the Stadium be viewed in its entirety,
              provides the lesser standard for existing facilities under Title II.
              Allowing plaintiffs to use the Standards as part of their effort to
              establish the existence of individual barriers to access does not
              dilute either of those requirements.

87 F. Supp. 2d at 226 (internal citations and footnotes omitted in part).

       The expert testimony on both sides of this case reflected the same understanding that

there is no clear or specific test for analyzing “usability.” While the standards for altered

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facilities are a helpful reference point in evaluating barriers to access within existing

facilities, the requirements for altered facilities cannot be wholly imposed on existing

facilities.

        During the pendency of this suit, the City has developed objective, specific criteria

to measure whether existing curb ramps are “usable” and meet § 35.150 and, if not, what

corrective action is required. The City developed these criteria based on field reviews and

research by Darr and City engineers. (Docket Entry No. 123 at 454; Docket Entry No. 124

at 504, 506). Dan Krueger, deputy director for engineering and construction in the City’s

Public Works and Engineering Department, testified that under these criteria, a curb ramp

with a slope exceeding 16 percent is not usable and would be replaced. (Docket Entry No.

125 at 647). For running slopes, the City views up to 12.5 percent as usable. If the slope is

between 12.5 percent and 16 percent, the City considers the distance involved in determining

whether the ramp is usable and requires the combined grade of two adjacent

surfaces—usually two different parts of a single ramp—not to exceed 19 percent to be

considered “usable.” (Docket Entry No. 134, Ex. B at 2;3 Docket Entry No. 135 at 11). The

City views a cross-slope up to 6 percent as “usable.” If a ramp has a cross-slope exceeding

6 percent, the City will replace the ramp with an ADAAG-compliant ramp. (Docket Entry

No. 123 at 460; Docket Entry No. 124 at 504, 506). “Lip” or “vertical discontinuity”—the




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         After the evidentiary hearing, the City formally adopted the standards and criteria about which
Darr, Msnry, and Krueger testified. (See Docket Entry No. 134).

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elevation change between ramp and street surface—exceeding one inch is “unusable” and

would be corrected. (Id. at 650).

        If an existing ramp exceeds ADAAG/TAS standards for new or altered construction

but falls below the criteria for “unusability” described above, the City evaluates the ramp

using a “totality of circumstances” test to determine whether that ramp should be modified

or replaced. (Id. at 651).4 The City’s accessibility expert is instructed to recommend

corrective action based on field observations, even if the potentially deficient facility—such

as a curb ramp—is not affected by alterations such as street construction or resurfacing. In

this case, however, the issues are limited to the extent of the City’s and METRO’s

obligations to make sidewalks accessible when parts of the streets and sidewalks are altered

in the Spur 527 Traffic Mitigation Plan and the RCTCS Project.

        C.      The Issues as to the City; Jones’s Motion for Reconsideration

        In the September 29, 2004 Memorandum and Order, this court agreed with Jones that

the resurfacing of an entire street from intersection to intersection is an “alteration” to

existing facilities that requires the installation of curb cuts and ramps at those intersections

under 28 C.F.R. § 35.151. (Docket Entry No. 64 at 45–46). Jones and the City dispute the

consequences of this court’s prior ruling. The parties agree that if a street is resurfaced, there

are no curb cuts or ramps at the intersections on that street, and it is in a “pedestrian route,”

the City is required to build curb cuts and curb ramps that meet the ADA requirements for

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          Krueger testified consistently with Msnry that this lawsuit played a role in the City’s
implementation of certain new policies. The City’s decision to employ a RAS accessibility specialist, for
example, was made in light of this lawsuit. (Docket Entry No. 125 at 671).

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new and altered facilities. The City presented evidence that it met ADA obligations in the

Spur 527 Traffic Mitigation Plan by installing over 93 new curb ramps, including in corners

where none existed before, at intersections on resurfaced streets that are in pedestrian routes.

(Docket Entry No. 123 at 460). Jones has presented no evidence that these newly installed

curb ramps fail to meet the standards under § 35.151(c) and (e). A list of the newly

constructed curb ramps in intersections on resurfaced streets affected by the Spur 527 Traffic

Mitigation Plan is attached as Appendix A.

       The parties dispute several aspects of work the City has not done. First, the parties

disagree as to whether the City must improve existing curb ramps in intersections when the

street is resurfaced—assuming the intersections are in a pedestrian route—if those ramps

deviate from the ADA requirements for new construction or altered facilities but are not so

out of compliance as to be “unusable.” The City asserts that for such curb ramps, the

applicable standard is the “readily accessible” and “usable” standard for existing facilities

under § 35.150. The City applies its newly developed “usability” criteria to determine

whether previously existing curb ramps need to be modified or replaced. Jones asserts that

if an existing curb ramp is part of an altered facility—a resurfaced street—and does not meet

ADAAG requirements, it must be corrected even if it is “usable” under the City’s standards.

The first issue in resolving this dispute is whether the § 35.150 “usability” standard for

existing facilities or the § 35.151 standards for altered facilities apply to previously installed

curb ramps along the resurfaced streets in the Spur 527 Traffic Mitigation Plan. If the

usability standard applies, the specifics of that standard must be identified.

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       The parties also dispute the City’s obligation to provide or improve ramps in

intersections where the resurfacing is on a cross-street. This affects the number of ramps

required to serve an intersection where the street resurfacing affects only one of the streets

crossing that intersection, as well as whether the ramp is part of the altered facility and

subject to the stringent ADAAG standards.

       Third, the parties dispute whether the City had an obligation to provide or improve

curb ramps if the resurfaced street is not in a “pedestrian route.”

       The resolution of these issues determines whether the City has met its obligations

under the ADA with respect to curb ramps along resurfaced streets in the Spur 527 Project

area. This court requested posthearing briefing from the parties on the following questions:

       (1)    Does the City have an obligation to improve curb ramps that are not in
              compliance with the applicable regulations, but, in the City’s judgment, are
              nonetheless usable? What standard governs the “usability” determination?

       (2)    What obligation, if any, does the City have under the law as to (a) ramps where
              the street resurfacing is on a cross-street but not the street on which the ramp
              is located; (b) ramps (existing or potential) that are not in a “pedestrian route”;
              and (c) the number of ramps required to serve an intersection, particularly
              when the street resurfacing affects only one of the streets on the intersection?

       In addition to submitting posthearing briefs, Jones moved for reconsideration as to this

court’s determination that sidewalks are separate facilities from streets. This court ruled that

when the City resurfaces a street from intersection to intersection, it must install curb cuts

and ramps on curbs that were affected by the street resurfacing to meet § 35.151(b) and (e).

Jones asked this court to order that the City’s obligation when it resurfaced a street was not

only to install ADA-compliant curb cuts and ramps at intersections on the resurfaced street,

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but also to perform construction or repair work to ensure that the entire sidewalk between the

intersections and curb ramps is free from cracks, uneven surfaces, or other problems that

might impede wheelchair travel. This court rejected Jones’s expansive view of the City’s

obligation under the ADA. (Docket Entry No. 106).5 As this court noted in its September

29, 2004 Memorandum and Order, “Section 35.104 lists ‘roads,’ ‘walks,’ or ‘passageways’

as separate facilities and limits the definition of ‘facility’ to mean ‘all or any portion of’

each.” (Docket Entry No. 64 at 46). The cases Jones cites in support of her motion for

reconsideration recognize this distinction, explicitly or implicitly. See Kinney, 9 F.3d at

1073 (“Subpart (e) [of 35.151] effectively unites a street and its curbs [but not the sidewalks]

for treatment as interdependent facilities.”); Ability Ctr. of Greater Toledo, 133 F. Supp. 2d

at 591–92 (distinguishing between existing and altered streets); Deck, 76 F. Supp. 2d at 822

(discussing the city’s violation of ADA standards for construction on “curb ramps since May

6, 1996,” well after the ADA requirements for new and altered construction had gone into

effect); Giuliani, 970 F. Supp. at 359 (treating the push-button boxes as a single “facility,”

and not any area around the boxes such as the sidewalk as part of the facility). Jones has not

presented new authorities or different arguments supporting a different approach. Jones’s

motion for reconsideration is denied.

        D.      The Issues as to METRO




        5
          The motion for reconsideration also raises arguments that are addressed elsewhere in this opinion,
including whether sidewalks, ramps, or curb cuts are required on streets that are not a “pedestrian route.”

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         In prior rulings, this court also held that while changes to existing traffic poles done

through METRO’s RCTCS Project are “alterations” under § 35.151, because the “altered”

facility is the traffic pole itself, the ADA did not require METRO to retrofit the sidewalk

adjacent to the pole. The sidewalk is a separate facility that is not “altered” by electrical

work on an existing pole. In contrast, when METRO installs a new traffic signal pole and

disrupts the sidewalk to do so, both the pole and the altered part of the sidewalk surrounding

the pole must be made accessible to the disabled, to the maximum extent feasible, under

§ 35.151. This court sought posthearing briefing on the following question:

         What is METRO’s obligation, if any, when it creates a “disturbed area” by installing
         a traffic signal pole?

III.     The Evidence Presented

         A.     The Evidence as to the City’s Curb Ramps

                1.     The Evidence as to Curb Ramp Problems and the Standards that Apply

         Jones testified that she has trouble using many curb ramps. She testified that she often

encounters “lip” problems if the street surface is not even with the ramp and gutter; if there

is an uneven transition between street and ramp, the back wheels of Jones’s wheelchair can

get caught. Jones also complained that many of the ramps have sloping problems. Certain

ramps are too steep, making it difficult or impossible for Jones to get up or down the ramps

safely in her wheelchair. Other ramps have a “V” problem, which arises when the slope

between the bottom part of the ramp and the slope of the gutter and street is excessive and

causes the chair to “bottom out.” Jones also complained that certain ramps are so uneven as


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to be unusable or have severe cracks. Other ramps have uneven areas at the bottom that

permit rainwater, mud, leaves, and other debris to collect. Jones is afraid to go through such

areas for fear of damaging or losing control of her wheelchair. Jones also testified that

certain ramps lack flat landings at the top, which prevents her from stopping while crossing

the street to observe traffic or to change directions. She also testified that certain ramps have

uneven or excessive cross-slopes, which can make them difficult or even dangerous to use.

Jones appropriately limited her testimony to her personal experiences, not the ADA legal

standards.

       The City responded by eliciting testimony from Jones that some ramps, although not

perfect, were still “usable.”     The City challenged several of the intersections Jones

complained of as beyond the Spur 527 Traffic Mitigation Plan area. The City also defended

against Jones’s complaints by arguing that she could have, but did not, use the City’s

Pedestrian Accessibility Review (PAR) Program to resolve her problems with the curb

ramps. The PAR program receives and responds to citizen requests for the installation and

repair of sidewalks, accessible curbs, and traffic signals. The City Public Works and

Engineering Department administers this program.

       Ken Otten, an accessibility compliance consultant Jones retained, testified about the

applicable ADA and TAS standards, the four reports he submitted, and the tests he performed

on the relevant street corners and traffic poles. When asked about the “usability” standard

applicable to existing facilities, Otten agreed with the City that the standard is “subjective.”

(Docket Entry No. 122 at 266). He testified that certain DOJ regulations suggest referencing

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ADAAG standards in assessing usability under § 35.150, but acknowledge that no hard-and-

fast criteria for usability exist. He also admitted that using a specific individual, such as

Jones, to determine “usability” may be problematic because certain factors may be unique

to that individual. (Id. at 267). Jones, for example, may find a given ramp unusable while

other wheelchair users find it usable. Otten’s—and Jones’s position—however, is that the

new construction and altered facilities ADAAG standards apply to all the curb ramps at issue,

so that the difference between § 35.150 and § 35.151 becomes irrelevant. (Docket Entry No.

122 at 271).

          In discussing his report, Otten also conceded that “[t]here isn’t a specific requirement

for a level landing in the current edition of ADAAG. However, the new version of ADAAG,

which isn’t enforceable yet, does show a top landing specifically for purposes where

somebody” wants to go around a curb ramp without going down and then back up the ramp

that is used for entering and crossing the street. (Id. at 270). After questioning by the court,

Otten again confirmed that neither ADAAG nor TAS requires a level landing. (Id.). The

City’s accessibility expert agreed with Otten on this point. (Id. at 382; Ex. 8 at 19; Ex. 8F

at 16).

          In discussing curbs that once met the applicable ADA standards but have since

deteriorated, Otten could not point to a specific standard. (Docket Entry No. 125 at 753).

Otten testified that distinguishing a ramp that was once compliant but has fallen into disrepair

from a ramp that was never compliant at all can be done depending on the circumstances.

(Id. at 755). He stated that he had not made such an analysis for this case. (Id.). Otten also

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testified that, much like the standards applied to “existing” (i.e., pre-1992) construction, any

standard for compliant-yet-deteriorating ramps is necessarily subjective. (Id. at 754, 766).

       The City’s expert, Teresa Darr, who is also an accessibility consultant, testified about

the applicable ADA and TAS standards, Otten’s reports, her own report and field work, and

the City’s approach to ADA compliance. Darr agreed with the City that, absent an alteration

such as street resurfacing that affects an existing curb or ramp, the existing facility must meet

only a subjective “usability” standard, not ADAAG or TAS requirements. Darr testified that

“existing curb ramps which could . . . not serve pedestrian crossings on the altered streets are

not required to be altered or brought into compliance as a result of the street overlay project.”

(Id.; see also Ex. 8 at 12 (Darr’s Expert Report, confirming same)).

       Darr, like Otten, explained that there are no existing specific “usability” guidelines

for existing curb ramps. (Docket Entry No. 122 at 307). Darr looked to various sources,

including ADAAG, TAS, Access Board publications, the Federal Highway Administration,

other publications, and the DOJ, to try to develop “usability” guidelines. (Id. at 305–07).

In creating a “usability” standard for curb cuts and ramps, Darr determined that for a rise of

six inches, the permissible slope would be from 1:10 to 1:12, with the maximum “usable”

slope being 10 percent. (Id. at 349). Darr also determined that for a maximum rise of three

inches, the slope could be as high as 12.5 percent. (Id.). These figures are more lenient than

ADAAG’s 8.33 percent requirement. Darr relied on various Access Board research to

determine these numbers. The Access Board standard for historical buildings, for example

is 16.6 percent; the Access Board also published research indicating that “[a] high percentage

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of manual wheelchair users were able to traverse fairly steep slopes at 1 to 8 or the 12.5

percent over a 30-foot ramp. And when you consider the curb ramp is only 6 to 8 feet, then

that 12.5 percent slope becomes very usable.” (Id. at 351). Darr testified that although a

12.5 percent slope over an entire ramp would not be desirable, a ramp of two feet or less with

slopes of 12.5 percent, 13 percent, or even as high as 16 percent in some places, would be

“traversable” and thus usable. (Id. at 352). With respect to change-in-grade criteria, Darr

used allowable construction tolerances, which she stated were usually up to an inch. Under

this standard, Darr deemed any ramp with a change in grade of one inch or less to be

“usable.” (Id. at 353).

       For the usability standard, Darr referred to the Access Board Minority Report in which

the author, a motorized wheelchair user, determined that his chair, which tended to “bottom

out” more than most, could withstand up to a 19 percent total combined slope before it

“bottomed out.” (Id. at 355–56). Darr further testified that her research showed that if the

curb had a level area of 24 inches or more at the bottom, the curb ramp could have an even

greater slope (more than 19 percent) and still be usable. (Id. at 357). Darr determined that

a combined slope of 19 percent should be considered “usable.” (Id.; see also Ex. 8 at 19).

       In trying to determine a usability standard for adjoining slopes, Darr again referred

to a Minority Report issued by the Access Board. Darr testified that for new construction

standards, the combined slope may be no greater than 13.33 percent, which is determined by




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adding the maximum allowable ramp slope, 8.33 percent, to the maximum allowable bottom

curb ramp slope, 5 percent. (Id. at 354).6

        In evaluating cross-slopes, Darr testified that research shows that most wheelchair

users can use ramps with cross-slopes far in excess of current standards. (Id. at 358).

According to one report, a cross-slope as great as 20 percent will not render a ramp unusable.

She testified that the report’s overall determination was that a cross-slope up to 6 percent was

usable. (Id.).

        Reid Msnry, managing engineer for the construction branch of the Engineering and

Construction Division of the City’s Public Works Department, testified that the City does not

have a single written policy on curb ramps, but requires its contractors to stipulate that they

will comply with all local, state, and federal laws, including the ADA. (Docket Entry No.

123 at 466). When asked about when certain curbs and ramps were constructed, Msnry

testified that the City maintains records but has no central database.                         (Id. at 491).

Additionally, Msnry testified that other entities, including utility companies, regularly

perform construction on City ramps, which often lie in utility rights-of-way. (Id.). Msnry

testified that ADAAG applies to reconstruction by the utility companies and that the



        6
           Darr’s report indicates two potential methods for calculating combined slope. The first method
should be used if the pre- and post-transition grades are in opposite directions (e.g., one uphill and one
downhill). This requires adding the two grades together; for example, if the slope of the curb ramp is 7
percent and the inward slope of the gutter is 3 percent, the change of grade or combined slope is 10 percent.
The second method should be used if the pre- and post-transition grades are in the same direction (e.g., an
uphill followed by a steeper uphill). This requires subtracting one grade from the other; for example, if a curb
ramp with an 8 percent grade leads up to a sidewalk with a 15 percent grade, the change of grade is 7 percent.
(Ex. 8 at 17–18).

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Engineer Office’s inspection staff reviews this work. (Id. at 492). He also stated that all

work done by utilities requires a permit and that the permit process requires ADAAG

compliance. (Id. at 493).

       Msnry testified that the City did not have criteria for curb cuts and ramps when it

began the Spur 527 Traffic Mitigation Plan street resurfacing work. (Docket Entry No. 123

at 495). He stated that the development of criteria was an ongoing process. On questioning

by the court, Msnry conceded that although the City has been resurfacing streets for years

since the ADA’s effective date, the first time the City implemented a written policy on ADA

requirements for curb ramps at intersections affected by a resurfacing project was after this

lawsuit began and this court scheduled a hearing on the merits of the case. (Docket Entry

No. 124 at 512). Msnry testified that “it’s true that this lawsuit brought to our attention

certain things” and gave the City a “heightened awareness” of its ADA obligations. (Id. at

512). The City submitted a document entitled, “Street Overlay Policy,” which described

general guidelines that the City applied to the resurfacing project. (Ex. 18). The document

called for a field review of streets subject to resurfacing and stated that the “survey is to

ensure that the existing ramps along the path of the overlay work, if any, comply with current

ADA standards.” (Id. at 2). The document required construction of ramps in accordance

with ADA standards for altered or new construction. (Id. at 2–3). The document also called

for construction of ramps where none exist and limits the City’s obligation to install new

ramps to corners touching the affected overlay areas. The document did not require any

changes to existing ramps and did not require any work to build or change ramps at corners

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where the street was not resurfaced. (Id. at 3–5). Msnry emphasized that this document was

only a draft policy that was not yet adopted by the City. (Docket Entry No. 124 at 556, 575).

After the hearing, the City submitted documents showing that the policy had been approved

and put into effect. (Docket Entry No. 134).7

        The City’s “usability” standards are consistent with those presented in Darr’s

testimony. For running slopes, the City views up to 12.5 percent as usable. If the slope is

between 12.5 percent and 16 percent, the City considers the distance involved in determining

whether the ramp is usable, and requires the combined grade of two adjacent

surfaces—usually two different parts of a single ramp—not to exceed 19 percent to be

considered “usable.” (Docket Entry No. 134, Ex. B at 2; Docket Entry No. 135 at 11). The

city views any cross-slope up to 6 percent to be “usable.” The City made this determination

based on field reviews and research by Darr and City engineers. (Docket Entry No. 123 at

454; Docket Entry No. 124 at 504, 506). If a ramp has a cross-slope exceeding 6 percent, the

City replaces the ramp with a fully ADAAG-compliant ramp. (Docket Entry No. 123 at 460;

Docket Entry No. 124 at 504, 506).

                2.      The Evidence as to the Condition and Status of the Curb Ramps

        Ken Otten, the accessibility consultant Jones retained, went to each of the curbs that

Jones complained about, evaluated it for compliance with ADAAG and TAS standards, and

identified the type and severity of violations he found, with a “1” being the curb ramps most


        7
          That filing also reported certain new curbs and ramps that the City has built or contracted for
construction since the evidentiary hearing.

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in need of remediation and “5” being the least. (Docket Entry No. 122 at 225; Exs.

109–110). Otten testified about how he made his priority determinations. He viewed ramps

severely out of compliance—ramps far in excess of ADAAG’s 1:12 rise-over-run, or 8.33

percent, requirement—to be high priority, because a steep ramp will create significant

problems for manual wheelchair operators to get up, and possibly down, the ramp. (Docket

Entry No. 122 at 243). Although Otten acknowledged the difference between the standards

for existing facilities, which use the looser, subjective “usability” standard, and those for new

construction or altered facilities, which must meet the strict ADAAG standards without

exception, Otten used the ADAAG criteria to determine whether a given ramp needed to be

built or reconstructed. Based on these measurements and his experience as an accessibility

compliance consultant, Otten prioritized the corners he viewed to be the most problematic

for disabled citizens. (Id. at 244).

       Otten testified that he did allow for some construction tolerances in his analysis. For

curb slope, for example, Otten indicated that a slope was compliant if the slope was 9.3

percent or less, even though ADAAG requires a slope no greater than 8.33 percent. (Id. at

249). With respect to the “V problem” about which Jones testified (which caused her wheels

to get stuck), Otten testified that two ADAAG standards address that issue: the requirement

that the ramp’s slope not exceed 8.33 percent and the requirement that the adjoining slope

of the street not exceed 1:20, or 5 percent. (Id. at 263). Otten also testified that curbs Jones

might describe as presenting “V problems” could also be listed as having “transition” or “lip”

problems. (Id. at 288). Otten conceded that certain wheelchairs are more susceptible to

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certain problems, and that a given curb ramp and adjoining street may be fully ADAAG-

compliant, yet nevertheless give users like Jones the type of problems she described. (Id. at

264).8

         In his report, Otten identified twelve categories of deficiencies among the curbs that

Jones identified as noncompliant. Those categories are: (1) curb with no ramp, (2)

completely noncompliant curb, (3) slope greater than 12.3 percent, (4) no clear width, (5)

transition not flush, (6) adjoining slope greater than 5 percent, (7) no level landing, (8) cross-

slope greater than 2 percent, (9) slope greater than 11.3 percent, (10) not textured, (11) slope

greater than 10.3 percent, and (12) ramp under construction. Otten’s report indicates that a

curb ramp with a slope exceeding 10.3 percent is “marginally compliant,” (Ex. 11 at 2); he

included the separate group of curb ramps with slopes exceeding 11.3 percent and a third

group of curb ramps with slopes exceeding 12.3 percent to distinguish the levels of

deficiency. Otten listed those curbs with slopes greater than 12.3 percent as priority 1, curbs

with slopes greater than 11.3 percent as priority 2, curbs with slopes greater than 10.3 percent

as priority 3, and curbs with slopes less than 10.3 percent as acceptable. (Id.).




         8
           In making rise-over-run measurements, Otten normally uses a digital slope meter called
a Smart Tool or a Smart Level. For this case, he used a Macklanburg Duncan 92288 Smart Tool.
(Docket Entry No. 122 at 235, 237). The user places the digital slope meter on a given ramp and
the machine provides the ramp’s slope, much like a bathroom scale might provide one’s weight. (Id.
at 236). No mathematical calculations are required to obtain a ramp’s slope with a digital slope
meter. (Id.). The digital slope meter itself, which is only six inches long, is housed in a wider casing
to allow the user to obtain the slope over a greater distance; if a given ramp or curb is misshapen
over a smaller area, the user can take the tool out of the casing to obtain a more accurate reading.
(Id. at 236, 238).

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       The City’s accessibility consultant and witness, Teresa Darr, performed field

investigations of the same ramps, curbs, and intersections, and recorded measurements in

largely the same way. Darr testified about three differences in methodology: (1) because

ramps can vary with respect to slope from top to bottom, she generally took several different

measurements of each ramp at various points and averaged them to come up with an overall

slope, (Docket Entry No. 122 at 309); (2) Darr’s report did not indicate any adjoining slopes

in excess of 5 percent because she viewed almost no instances of this in her field evaluation

(id. at 330); and (3) Darr noted where certain gutters widened to a “very low sloped or level

area” for at least 24 inches after the ramp because, according to a Minority Report issued by

the Access Board (“Building a True Community” by William D. Jordan), this improves

usability (id. at 332). Darr’s report also identified which curbs and ramps were “existing,”

which were affected by, and part of, street resurfacing and which were not, which ramps

were in the process of being designed, and the target date for constructing new ramps for

certain areas. (Id. at 335–37).

       Darr testified that she applied several of Otten’s conclusions to other places in his

report to undermine his findings. Darr testified that, in places where Otten’s report indicated

that a given curb or ramp was in substantial compliance, she took the slope measurements

from that purportedly-substantially-compliant curb and compared those measurements to

other curbs. Darr found that several of the curbs Otten labeled as not substantially compliant

had the same measurements as other curbs he found compliant. (Id. at 342). Darr also

testified that she disagreed with Otten about whether to apply the standards for new

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construction or altered facilities under § 35.151 or the standard under § 35.150 for existing

facilities to certain curbs. (Id.). Darr evaluated the City’s actions, including actions the City

had planned or already made to fix certain deficiencies she identified.

       Darr testified that the City’s obligation to repair or replace altered roadways is further

reduced where a given intersection is not in a “pedestrian route” as determined by City

officials. On cross-examination, Darr stated that there are several clear signs of a pedestrian

route: where there exists a pedestrian crossing light, a striped crosswalk, or indicia of “a lot

of pedestrian traffic.” (Docket Entry No. 122 at 366).

        Darr had several responses to deficiencies Otten identified in his report. First, Darr

identified certain curb ramps as subject only to “usability” standards rather than ADAAG

standards: ramps in intersections where the street resurfacing work did not extend into the

intersection or ended before the intersection (identified in endnote 1 in her report); ramps in

intersections where the resurfacing did not extend around the corner of the main street onto

the side street (identified in endnote 2); and places where the City did not resurface,

including the intersection of Greenbriar and U.S. Highway 59, which is under TXDOT’s

jurisdiction (identified in endnote 4), and the intersections of Greenbriar at Richmond and

Eastside at Richmond (identified in endnote 10). Darr also determined that several

complained-of intersections and curbs were not subject to either usability or ADAAG

requirements because they were not in pedestrian routes, which were identified in endnote

5.



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       Darr also found three general areas of disagreement with Otten’s methodology. For

some ramps, she indicated that a change in level of the ramp skewed the overall adjoining

slope of the gutter, making the transition and slope problem appear worse than it is. These

ramps were identified in endnote 7. For other intersections, she noted that the transition

problem Otten noted results from overgrown grass or vegetation and does not constitute a

“real barrier” because the accessible route for the given intersection is not required to be

paved (identified in endnote 8). In endnote 9, Darr indicated curbs that had “rough paving”

with a change in level of one-half inch to one inch, making an accurate measurement difficult

to obtain. Darr also found two deficiencies in several intersections that required corrective

action: curbs with broken gutters (endnote 11), and curbs with half-inch bumps in two places

where parts of the original curb were not removed (endnote 12).

       Jones’s complaints about specific ramps, and the City’s defenses, are summarized in

the following table:

   Street 1            Street 2        Cr.        Complaint          Defense (Tr.     Ex.
                                                  (Tr. Page)            Page)
 W. Alabama      Audley               SE     Cracks (151)            No overlay      113-1
 W. Alabama      Stanford             NE     Too steep, Lip                          113-2
                                             (156–58)
 W. Alabama      Stanford             NW     Too steep (161)         No overlay      113-3
 W. Alabama      Stanford             SW     Too steep (164)         Usable (165)    113-4
 W. Alabama      Day                  SW     No flat landing         Usable          113-6
                                             (168)                   (169–70)
 W. Alabama      Driscoll             SE     Too steep, bumps        No overlay      113-7
                                             (170–71)

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W. Alabama   Dunlavy           NE    Too steep; ramp      Overlay does 113-8
                                     uneven (174)         not cause
W. Alabama   Revere            NE    Too steep, cross-                   113-9
                                     slope problems
Fairview     Brun              SE    Lip at top (179,     Usable (181)   113-
                                     181)                                10
Fairview     Brun              SW                         Usable (181)   113-
                                                                         11
Fairview     Dunlavy           NE                         Usable (181)   113-
                                                                         12


Webster      Chenevert         SE    No curb cuts (89)                   113-
                                                                         14
W. Alabama   Buffalo           SW    Bump in road (185)   Usable         113-
             Speedway                                     (185–86)       15
Webster      Chenevert         SW    No curb cuts (87)                   113-
                                                                         16
Westheimer   Greenbrier        SE                                        113-
                                                                         17
Westheimer   Helena            NW    Too steep (187–88)                  113-
                                                                         18
Westheimer   Kettering         SW    No level platform    Usable (189)   113-
                                     (92, 189)                           19
Westheimer   Midlane           NW    No level platform                   113-
                                     (93)                                20
Westheimer   Midlane           SW    Cracked ramp (94)                   113-
                                                                         21
Westheimer   Midlane           SW    Lip, no level                       113-
                                     platform (95)                       22
Westheimer   Persa             SW    Too steep (191)                     113-
                                                                         23


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 Westheimer      Ralph                NW     Too steep (192)         No overlay      113-
                                                                     (192)           24
 Westheimer      Revere               SE     Uneven ramp             No overlay      113-
                                             (bulge) (98)            (192)           25
 Westheimer      Virginia             SE     Lip, pole in way        No overlay      113-
                                             (99)                    (192)           26
 Westheimer      Wesleyan             SE     Lip (100, 200)                          113-
                                                                                     27
 Westheimer      Westcreek            NE     Lip, too steep (101)    No overlay      113-
                                                                     (195)           28
 Westheimer      Westcreek            NW     Lip, too steep          No overlay      113-
                                             (101–02)                (195)           29
 Westheimer      Westcreek            NW     Lip, too steep (103)    No overlay      113-
                                                                     (195)           30
 Westheimer      Westgate             NW     Too steep, no level                     113-
                                             platform (104, 107)                     31
 Westheimer      Westgate             SW                                             113-
                                                                                     32
 Kirby           N. Braeswood         SW                                             120
 San Felipe      Voss                                                                121

       For the challenged area (which covers the Spur 527 Traffic Mitigation Plan and

certain intersections near Jones’s home), Otten identified 59 curbs that lacked curb ramps

entirely. (Ex. 112). When Darr performed her field test, she noted that the City had built 41

new curb ramps where none had existed before and had planned construction of another 11

new curb ramps. (Ex. 8E). The City did not build or plan to build new curb ramps for the

seven remaining corners: (1) Kirby at Shepherd (north median); (2) Kirby at Shepherd

(southeast corner); (3) Fairview at Dunlavy (southwest corner); (4) Fairview at Dunlavy

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(northwest corner); (5) Webster at Chenevert (southwest corner); (6) Webster at Chenevert

(southeast corner); and (7) Webster at Ferndale (southeast corner). (Id.). Of these seven

curbs, Darr concluded that the first four were not subject to ADAAG requirements because

the street overlay did not extend into the complained-of intersection and the last three did not

require curb ramps because they were not in pedestrian routes.

        With respect to the thirteen curbs that Otten found “completely non-compliant,” the

City built seven completely new ramps and slated one more for new construction. For the

remaining five ramps,9 Darr found that the curbs were not subject to ADAAG requirements

because although the main street at the intersection was part of the street resurfacing project,

the complained-of curb was on a side street that was not resurfaced, and thus subject to, and

met, the lesser less-stringent “usability” standard. (Ex. 8F at 3–4).

        Otten found 60 curb ramps with a slope exceeding the ADAAG requirement of 12.3

percent. Of those, the City replaced eight curb ramps and contracted for new construction

for another eighteen. Darr and the City found that 24 of the curbs were not required to meet

ADAAG requirements because those curbs were not part of the Spur 527 Traffic Mitigation

Plan or were not pedestrian routes. (Ex. 8F at 4–6).10 Darr determined that ten intersections



        9
          Fairview at Brun (southeast/east corner), Fairview at Huldy (southwest corner), Fairview at Huldy
(northeast/east corner), Greenbriar at Lexington (southeast corner), and Westheimer at Helena
(northwest/west corner). Darr indicated that several other intersections Otten indicated as “completely non-
compliant” were outside the resurfacing project, but the City nevertheless installed (or planned to construct)
new curb ramps at those corners.
        10
           Certain curb ramps fell into more than one category, which is why this list cumulatively accounts
for more than 60 curb ramps.

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were subject to ADAAG requirements, yet had curb ramps that failed to meet those

requirements:

            Street 1                      Street 2                       Corner
 Fairview                      Elmen                         Southwest/South
 Fairview                      Hazard                        Southeast
 Fairview                      McDuffie                      Northeast
 Fairview                      Woodhead                      Northwest/North
 Webster                       Austin                        Southeast
 Webster                       Bagby                         Northeast/East
 Webster                       Brazos                        Northwest/North
 West Alabama                  Mulberry                      Northeast/North
 West Alabama                  Stanford                      Southeast/East
 West Alabama                  Yoakum                        Southwest/South

      Darr also conducted a “usability” analysis of these curb ramps, but, as discussed

below, this analysis is irrelevant for corners subject to the specific ADAAG standards for

altered facilities. On the current record, under the ADAAG standards, the City has not

remedied the deficiencies with these curb ramps.

      Otten identified three corners with curb ramps that lacked sufficient width, which

ADAAG requires to ensure that a wheelchair will remain on the paved sidewalk and ramp.

The deficient corners Otten listed were Greenbriar at Portsmouth, southwest corner;

Greenbriar at Richmond, northwest corner; and Westheimer at Midlane, southeast corner.

(Ex. 112 at 8). The City determined that the first corner was not altered by the Spur 527



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Traffic Mitigation Plan. (Ex. 8F at 6). The City replaced the curb ramp at the northwest

corner of Greenbriar at Richmond. (Id.). The City planned construction to repair transition

problems at all three corners, but it is unclear whether this construction will remediate the

width problem in the ramp at the southeast corner of Westheimer at Midlane. (Id.).

       The biggest problem that Otten cited was the “transition problem” that Jones generally

described as the “V problem” in her testimony. Otten found 210 ramps that failed to meet

ADAAG requirements for transitions. Of those 210 corners, 83 were outside the scope of

the ADAAG-triggering projects, meaning that the ramp was outside a pedestrian zone or part

of a facility that was not “altered” by resurfacing, or both. Of the 127 remaining corners, the

City has built or contracted to build 63 new curb ramps. The City also contracted for

transition work to mitigate the problems with 31 of the existing curb ramps. Thirty-two of

the 210 curb ramps identified as having a transition problem were in pedestrian routes and

affected by the Spur 527 Traffic Mitigation Plan, but have neither been modified nor slated

for modification:

            Street 1                       Street 2                        Corner
 Fairview                       Elmen                           Southwest/West
 Fairview                       Huldy                           Northwest
 Fairview                       Huldy                           Northeast/North
 Fairview                       Huldy                           Southeast/North
 Webster                        Bagby                           Southeast/South
 Webster                        Crawford                        Southwest
 Webster                        Jackson                         Southeast/South

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Webster                  LaBranch                  Northwest/North
West Alabama             Dunlavy                   Northwest
West Alabama             Dunlavy                   Northeast
West Alabama             Dunlavy                   Southeast
West Alabama             Eastside                  Southeast
West Alabama             Garrott                   Southeast/South
West Alabama             Graustark                 Southwest/South
West Alabama             Jack                      Southeast/South
West Alabama             Mandell                   Northeast/North
West Alabama             Montrose                  Northeast/North
West Alabama             Montrose                  Northwest/North
West Alabama             Mount Vernon              Northeast/North
West Alabama             Mulberry                  Northeast/East
West Alabama             Stanford                  Northwest/North
West Alabama             Stanford                  Northeast/North
West Alabama             Yoakum                    Southeast/East
West Alabama             Yupon                     Southeast/South
Westheimer               Buffalo Speedway          Southwest
Westheimer               Claremont                 Northwest
Westheimer               Eastside                  Southwest
Westheimer               Hazard                    Southwest
Westheimer               Kirby                     Northeast
Westheimer               Montrose                  Southwest
Westheimer               Revere                    Southeast
Westheimer               River Oaks Blvd.          Southwest



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 Westheimer                        Stanford                       Northwest

          The only corner Otten criticized as having an adjoining slope exceeding 5 percent, the

southwest corner of West Alabama at Driscoll, was outside the Spur 527 Plan work. (Ex. 8F

at 13).

          Otten cited 43 corners that lacked a level landing sidewalk area at the top of the curb

ramp. Darr testified, and included notations in her report, that there was no requirement that

the top of a curb have a level landing. (Ex. 8F at 13–14, 16 (citing and discussing then-

controlling ADAAG § 4.7). The City also claims that 12 of these corners are outside the

scope of the Spur 527 Traffic Mitigation Plan. The City replaced or contracted to replace 9

of the 31 curb ramps within the covered area, meaning that 22 of the curb ramps lacking level

landings have not been fixed or slated to be fixed. The ADA does not require the City to

repair these 22 ramps; further analysis is unnecessary on this purported deficiency.

          Otten listed five corners with curb ramps that have a cross-slope exceeding 2 percent:

(1) Fairview at Elmen, northwest/west corner; (2) Westheimer at Dickey, northwest corner;

(3) Westheimer at Larchmont, northeast corner; (4) Westheimer at Dunlavy, northeast corner;

and (5) Westheimer at Kirby, southeast/south corner. (Ex. 112 at 14). The City introduced

evidence showing that the first three curb ramps are at intersections that were not altered or

affected by the Spur 527 Traffic Mitigation Plan resurfacing work. (Ex. 8F at 14). The City

replaced the fourth curb ramp. The curb ramp at the northeast corner of Westheimer at

Dunlavy was part of an altered facility but has not been repaired.


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       Otten listed seven corners with curb ramps having a slope over 11.3 percent. The

corners are: (1) Webster at Crawford (southeast corner); (2) West Alabama at Stanford

(southeast corner, south); (3) West Alabama at Stanford (northeast corner, east); (4)

Westheimer at Woodhead (northwest corner); (5) Westheimer at Yoakum (southwest corner,

east); and (6) Westheimer at Greenbriar (southwest corner, south). The seventh corner,

Westheimer at Yoakum (southwest corner, north), is reported as having no ramp at all; the

City has since installed a new ramp. (Ex. 8F at 15). The City introduced evidence that the

Westheimer at Greenbriar corner is outside the covered area. Three of the five remaining

corners were slated for additional transition repair, but the City did not introduce evidence

showing that the contracting work aimed at correcting the transition problem will mitigate

the slope problem. Neither of the West Alabama intersections are scheduled for transition

repair. After the evidentiary hearing, the City submitted evidence showing that a new curb

cut and ramp had been built at the southwest corner, east, at Westheimer at Yoakum.

(Docket Entry No. 134, Ex. A). As discussed below, four corners should have been, but were

not, made ADAAG-compliant.

       Otten cited eight corners as lacking the requisite textured surface.        The City

introduced evidence showing that five of the eight corners were outside the covered area.

(Ex. 8F at 15). Of the remaining corners, one of the corners, Westheimer at Woodhead

(northeast corner, north), had already been slated for construction of a new curb ramp. The

City did not introduce any evidence of plans to mediate this deficiency in the two remaining



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corners, Greenbriar at Norfolk (southwest corner), and Webster at Jackson (northeast corner,

north).11

        When Otten made his report, five corners were under construction, two of which are

outside the covered area.12 Since then, two of the corners—Westheimer at Hazard (northwest

corner) and Westheimer at Lake (northwest corner)—have had new ramps installed and the

last corner, Westheimer at Argonne (northeast corner), was slated for transition work to be

completed in January 2006. (Ex. 8F at 15).

        Reid Msnry, managing engineer for the construction branch of the engineering and

construction division of the City’s public works department, testified that there was no

pedestrian route at the “T intersection” of Westheimer at Helena, Exhibit 113-18, or at West

Alabama at Audley Street, Exhibit 113-1. (Id. at 434–35). Msnry also authenticated an

exhibit listing all of the planned and completed curb cuts and ramps constructed in

conjunction with the Spur 527 Traffic Mitigation Plan. (Id. at 438; Ex. 8F). Msnry testified

that his office performed field reviews of existing curb ramps, looking both for ramps that

would need to be reconstructed to meet the standards for altered facilities (because of the

resurfacing project) and for ramps that had usability problems even if those ramps were not



        11
           Darr’s report indicates that TAS requires textured surfaces for new construction only, not existing
construction. (Ex. 8F at 16). Accordingly, the City had no obligation to remedy this defect on existing
corners, but was required to build ramps with textured surfaces for the corners within the overlay and
resurfacing projects.
        12
            Westheimer at Bellmeade (northwest corner) and Westheimer at Bellmeade (northeast corner)
were listed as under construction but outside the two projects. The City has nevertheless replaced the curb
ramps at these two corners since Otten made his report.

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directly affected by street resurfacing. (Docket Entry No. 123 at 439). He also indicated

which of the curbs and ramps challenged by Jones were affected by street resurfacing.

        Msnry submitted a chart detailing his evaluation of existing curb ramps within the

Spur 527 Traffic Mitigation Plan area.                He indicated that certain curb ramps had

“deteriorated” and needed repair or replacement. (Docket Entry No. 123 at 440). His report,

(Ex. 8F), listed the following curbs within the overlay area as deteriorated and/or having

transition problems:

    Street 1          Street 2       Corner         Status       Trans.        Deteriorat      Constructi
                                                                Problem?          ed?          on Date13
 Fairview           Brun             SW/S         Existing      Y              N               1/06
 Fairview           Elmen            SW/S         Existing      Y              N               1/06
 Fairview           Hazard           SW           New           Y              N               1/06
                                     (Clam)
 Fairview           Hazard           NE           New           Y              N               1/06
                                     (Clam)
 Fairview           Hazard           NW           New           Y              N
                                     (Clam)
 Fairview           McDuffie         NE           Existing      Y              N               1/06
                                     (Clam)
 Fairview           McDuffie         SE/N         Existing      Y              N               1/06
 Fairview           Woodhead         SE/N         Existing      Y              N               1/06
 Fairview           Woodhead         NW /N        New           Y              N               1/06



        13
           Msnry’s report indicated up to two construction dates for each curb: a construction target date for
building new ramps and a “transition construction target date” for repairing transition problems on certain
curbs. If a curb was being replaced entirely, the City did not establish a separate transition date. For curbs
with two construction dates, the latest construction date is listed.

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Fairview     Woodhead    SW/S     New        Y        N          1/06
Webster      Austin      SW       New        Y        N          1/06
                         (Clam)
Webster      Austin      SE       Existing   Y        N          1/06
                         (Clam)
Webster      Bagby       SE/E     Existing   Y        Y          1/06
Webster      Bagby       NE/E     Existing   Y        N          1/06
Webster      Brazos      SW/S     Existing   Y        N          1/06
Webster      Caroline    NW/N     New        Y        N          1/06
Webster      Chenevert   SW       No ramp    Y        N          1/06
Webster      Chenevert   SE       No ramp    Y        N          1/06
Webster      Crawford    NW       Existing   Y        N          1/06
                         (Clam)
Webster      Crawford    SE/S     Existing   Y        N          1/06
Webster      Jackson     NW       Existing   Y        N          1/06
                         (Clam)
Webster      La Branch   NE       Existing   Y        N          1/06
Webster      La Branch   SW/S     Existing   Y        N          1/06
Webster      La Branch   SE/S     Existing   Y        N          1/06
W. Alabama   Bute        SE/S     New        Y        N          1/06
W. Alabama   Eastside    NW       Existing   Y        N          1/06
                         (Clam)
W. Alabama   Garrott     SW/S     Existing   Y        N          1/06
W. Alabama   Garrott     NE/N     Existing   Y        N          1/06
W. Alabama   Graustark   NE/N     New        Y        N          1/06
W. Alabama   Graustark   SE/S     New        Y        N          1/06
W. Alabama   Jack        SW/S     Existing   Y        N          1/06


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W. Alabama   Mandell    SW/W     Existing   Y        N          1/06
W. Alabama   Mandell    SE/E     Existing   Y        N          1/06
W. Alabama   Mandell    SE/S     Existing   Y        N          1/06
W. Alabama   Mandell    NE/E     Existing   Y        N          1/06
W. Alabama   Mandell    NW/W     New        Y        N          1/06
W. Alabama   Montrose   SE/S     Existing   Y        N          1/06
W. Alabama   Mt.        NW/W     Existing   Y        N          1/06
             Vernon
W. Alabama   Mt.        NW/N     Existing   Y        N          1/06
             Vernon
W. Alabama   Mt.        NE/E     Existing   Y        N          1/06
             Vernon
W. Alabama   Mulberry   NW/N     Existing   Y        N          1/06
W. Alabama   Mulberry   NE/N     Existing   Y        N          1/06
W. Alabama   Mulberry   SW/S     Existing   Y        N          1/06
W. Alabama   Mulberry   SE       Existing   Y        N          1/06
                        (Clam)
W. Alabama   Sackett    NE       Existing   Y        N          1/06
                        (Clam)
W. Alabama   Timmons    NE       New        Y        N          1/06
                        (Clam)
W. Alabama   Wesleyan   NW       New        Y        N          1/06
                        (Clam)
W. Alabama   Yoakum     NE/N     Existing   Y        N          1/06
W. Alabama   Yoakum     SW/S     Existing   Y        N          1/06
W. Alabama   Yoakum     NW/W     Existing   Y        N          1/06
W. Alabama   Yoakum     NW/N     Existing   Y        N          1/06
W. Alabama   Yoakum     SE/S     Existing   Y        N          1/06


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W. Alabama   Yupon      SW/S     New        Y        N          1/06
W. Alabama   Yupon      NE/E     Existing   Y        N          1/06
W. Alabama   Yupon      SE/E     Existing   Y        N          1/06
W. Alabama   Yupon      NW/W     Existing   Y        N          1/06
Westheimer   Argonne    NW       Existing   Y        N          1/06
                        (Clam)
Westheimer   Argonne    NE       New        Y        N          1/06
Westheimer   Common-    SW/S     New        Y        N          1/06
             wealth     (Clam)
Westheimer   Common-    SE/S     Existing   Y        N          1/06
             wealth
Westheimer   Drexel     SE       New        Y        N          1/06
                        (Clam)
Westheimer   Dunlavy    SE       Existing   Y        N          1/06
                        (Clam)
Westheimer   Eastside   NW       New        Y        N          1/06
Westheimer   Eastside   NE       New        Y        N          1/06
Westheimer   Grant      NW/N     New        Y        N          1/06
Westheimer   Hazard     NE       New        Y        N          1/06
                        (Clam)
Westheimer   Hazard     NW       New        Y        N          1/06
                        (Clam)
Westheimer   Maconda    NE       Existing   N        Y
                        (Clam)
Westheimer   Mandell    SW/S     New        Y        N          1/06
                        (Clam)
Westheimer   Mandell    NW/N     New        Y        N          1/06
Westheimer   Newman     SW       Existing   N        Y          1/06



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Westheimer   Peckham      SE       Existing   N      Y          1/06
                          (Clam)
Westheimer   Peckham      SW       Existing   N      Y          1/06
Westheimer   River Oaks   NE       New        Y      N          1/06
                          (Clam)
Westheimer   Shepherd     SE       Existing   Y      N          1/06
Westheimer   Shepherd     NE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Shepherd     SW/W     Existing   Y      N          1/06
                          (Clam)
Westheimer   Stanford     SE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Taft         NE/E     Existing   Y      Y          1/06
Westheimer   Taft         SE       Existing   Y      Y          1/06
                          (Clam)
Westheimer   Waugh        NE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Whitney      NE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Whitney      SW       Existing   Y      N          1/06
                          (Clam)
Westheimer   Whitney      SE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Willowick    NW       Existing   Y      N          1/06
                          (Clam)
Westheimer   Willowick    NE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Woodhead     SE       Existing   Y      N          1/06
                          (Clam)
Westheimer   Woodhead     SW       Existing   N      Y
                          (Clam)

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 Westheimer         Woodhead         NE           Existing      Y              Y               1/06
                                     (Clam)
 Westheimer         Woodhead         NE/N         Existing      Y              Y               1/06
 Westheimer         Yoakum           SW/N         New           Y              N               1/06
 Westheimer         Yupon            SE/S         Existing      Y              N               1/06

        The report also included a list of ramps outside the area of the Spur 527 Traffic

Mitigation Plan street resurfacing work that Msnry found to be deteriorated and/or having

transition problems and that the City was reconstructing:

    Street 1          Street 2       Corner        Status      Transition       Deterio       Constructi
                                                               Problem?         rated?        on Date14
 Fairview           Brun             SE/E         Existing     Y                N            1/06
 Fairview           Brun             SW/W         Existing     Y                N            1/06
 Fairview           Brun             NE/E         Existing     Y                N            1/06
 Fairview           Driscoll         NW/W         Existing     Y                Y            1/06
 Fairview           Driscoll         SW/W         Existing     Y                N            1/06
 Fairview           Elmen            SW/W         Existing     Y                N            1/06
 Fairview           Huldy            SW/E         Existing     Y                N            1/06
 Fairview           Huldy            NE/E         Existing     Y                N            1/06
 Fairview           Morse            NE/E         Existing     Y                N            1/06
 Greenbriar         Lexington        SE           Existing     N                Y
 Greenbriar         Portsmouth SW                 Existing     Y                N            1/06



        14
           Msnry’s report indicated up to two construction dates for each curb: a construction target date for
building new ramps and a “transition construction target date” for repairing transition problems on certain
curbs. If a curb was being replaced entirely, the City did not establish a separate transition date. For curbs
with two construction dates, the latest construction date is listed.

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Greenbriar   Portsmouth NW         Existing   Y        N        1/06
                        (Clam)
Greenbriar   Richmond     NW       New        Y        N        1/06
                          (Clam)
Webster      Brazos       NW/W     Existing   Y        N        1/06
Webster      Brazos       SE/E     Existing   Y        N        1/06
Webster      Caroline     NW/W     New        Y        N        1/06
Webster      Jackson      NE/E     Existing   Y        N        1/06
Webster      La Branch    NW/W     Existing   Y        N        1/06
W. Alabama   Garrott      NW/W     New        Y        N        1/06
W. Alabama   Garrott      SW/W     Existing   Y        N        1/06
W. Alabama   Garrott      NE/E     Existing   Y        N        1/06
W. Alabama   Graustark    NE/E     New        Y        N        1/06
W. Alabama   Greeley      SE       Existing   Y        N        1/06
W. Alabama   Montrose     SE/E     Existing   Y        N        1/06
W. Alabama   Sackett      SE       Existing   Y        N        1/06
Westheimer   Bellmeade    NE       New        Y        N        1/06
Westheimer   Brun         NW       Existing   N        Y
Westheimer   California   NE       Existing   Y        N        1/06
Westheimer   Driscoll     NW       Existing   Y        Y        1/06
Westheimer   Driscoll     NE       Existing   Y        Y        1/06
Westheimer   Ferndale     SW       Existing   Y        N        1/06
                          (Clam)
Westheimer   Ferndale     SE       Existing   Y        N        1/06
                          (Clam)
Westheimer   Greenbriar   SW/W     Existing   Y        N        1/06
Westheimer   Huldy        NE       Existing   Y        N        1/06


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 Westheimer      Huldy         NW         Existing    N             Y
 Westheimer      Kuester       NE         Existing    Y             Y          1/06
 Westheimer      Lincoln       NE         Existing    N             Y
 Westheimer      Lincoln       NW         Existing    N             Y
 Westheimer      McDuffie      NE         Existing    N             Y
 Westheimer      Persa         SE         Existing    Y             Y          1/06
 Westheimer      Ridgewood NE             Existing    Y             N          1/06
 Westheimer      Sackett       SE         New         Y             N          1/06
                               (Clam)
 Westheimer      Sackett       SW         Existing    Y             N          1/06
 Westheimer      Stanford      SW/W       Existing    Y             N          1/06
 Westheimer      Suffolk       SE         Existing    Y             N          1/06
                               (Clam)
 Westheimer      Woodhead      NE/E       Existing    Y             Y          1/06
 Westheimer      Yupon         NE         Existing    Y             Y          1/06
 Westheimer      Yupon         NW         Existing    Y             N          1/06

       Msnry also testified about Houston City Council action authorizing completion of

certain construction work. (Docket Entry No. 123 at 449; Ex. 4). This $6 million contract

included construction of curb cuts and ramps and repair of certain existing curbs. Msnry

testified that the City has constructed 179 ramps at 65 different intersections within the 527

Traffic Mitigation Plan area. (Docket Entry No. 123 at 458–59). He clarified that 93 of the

ramps are new—meaning that no curb cut or ramp existed before the project—and 86 of the

ramps were existing ramps that the City reconstructed. (Id. at 460). Msnry testified that the




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existing ramps were reconstructed to comply with ADAAG after the City resurfaced the

street if they failed to meet the City’s “usability” criteria.

       B.      The Evidence as to METRO

       Jones significantly limited her complaints about METRO-installed traffic poles.

Jones’s METRO/RCTCS-related testimony related to the following three intersections: (1)

San Felipe at Voss; (2) Kirby at North Braeswood; and (3) Stanford at Alabama. (See

Docket Entry No. 121 at 131–32). Otten’s reports distinguish between problems for which

the City is allegedly responsible and problems for which METRO is allegedly responsible.

       Eugene Smith testified for METRO. In testifying about crosswalk signals, Smith

stated that pushing the button for crossing the street sometimes causes a walk signal to appear

faster or stay longer in duration, and sometimes has no material effect. (Docket Entry No.

125 at 693–94). In some corners, the button will cause a walk signal to appear, but does not

affect the duration of the green light. Smith testified that regardless of whether the button

is pushed, “the duration [of the wait and the walk signal] likely would be the same.” (Id. at

695). Smith also testified that in some cases pushing the signal button will cause the walk

signal to appear 15 to 20 seconds sooner. (Id. at 698). Smith provided additional testimony

about the RCTCS project, emphasizing that most of the installation of new poles was done

years ago and that other construction at most sites has since taken place. Notably, Smith

testified that in evaluating curbs and ramps on the list of complaints that Jones submitted,

METRO had not installed a new traffic signal pole in the sidewalk adjacent to a single one

of the ramps. (Id. at 729).

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III.     Analysis of the Claims against the City

         A.     The City’s Obligation to Repair or Modify Previously Built Curb Ramps
                When a Street is Resurfaced from Intersection to Intersection

         This court asked for additional briefing about the City’s obligation to modify or repair

existing curb ramps at intersections of streets that are resurfaced and in a pedestrian

walkway, if those ramps do not comply with the ADA requirements for new or altered

construction, but which the City contends are nonetheless “usable.” The City argues that it

has no duty under to improve previously built curb ramps that are not in compliance with the

applicable regulations for new construction or altered facilities. Instead, the regulations

governing existing facilities control. These regulations require that the public entity operate

each service, program, or activity so that such program “when viewed in its entirety is readily

accessible to and usable by individuals with disabilities.” 28 C.F.R. § 35.150.

         Jones offers several grounds to support her argument that the new construction or

altered facility standard established in 28 C.F.R. § 35.151 applies to curb ramps when the

City alters the street by resurfacing it from intersection to intersection. Jones argues that this

court has already ruled that the existing curb ramps serving a resurfaced street must comply

with the ADA requirements for altered facilities because the intersections and crosswalks are

part of the altered facility. Jones argues that reliance on subjective “usability” standards

under 28 C.F.R. § 35.150 to measure ADA compliance of existing curb ramps permits the

City to flout ADA requirements, maintain existing barriers to access, and discriminate

against the disabled.


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       The second argument, standing alone, is not persuasive. Congress and the Department

of Justice distinguished between the ADA compliance requirements for curb ramps that are

part of existing facilities and ADA compliance requirements for curb ramps that are part of

newly constructed or altered facilities. The issue is whether resurfacing a street is an

alteration that requires the City not only to install curb cuts and ramps where they are absent,

but to repair or modify previously built ramps if they did not comply with ADAAG and TAS

standards when built or have deteriorated into noncompliance, even if they are “usable.” A

related issue is the number of ramps that are required in an intersection.

       A typical intersection of two streets (with one street running north-south and one

street running east-west), presents several ramp/curb cut options. Curb cuts and ramps may

be installed going each direction at each corner (one ramp to traverse the east-west street and

one ramp to traverse the north-south street), for a total of eight curb cut/ramp combinations

per intersection. Four “clamshell” ramps, which provide access to both directions of traffic

through a single, wide ramp that is placed each corner, can be used. Some combination of

both can also be used.       ADAAG and TAS allow these combinations and imposes

requirements for each.

       Jones argues that street resurfacing is an “alteration” triggering the City’s obligations

under the ADA with respect to an entire intersection, including up to eight curb cuts and

ramps. Under this approach, the City would have to install or modify curb ramps at each

corner, in each direction, even if the resurfacing work does not affect the entire intersection,

and all of those ramps would have to meet the ADAAG standards for altered facilities. The

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City argues that if a curb ramp is in place in the intersection, street resurfacing does not

trigger a requirement to modify or repair that ramp if it is usable, even if it does not meet

ADA requirements for altered facilities. The City also argues that it need not put a curb ramp

in both directions at each corner. Neither side is wholly correct.

       This court has found that if a street is resurfaced from intersection to intersection, it

is an altered facility and the City is required to make the altered parts of the facility compliant

under the stringent § 35.151(b) and (e) standards. The curb that is part of the resurfaced

street must have a curb cut and ramp that meet the requirements for new construction and

altered facilities. That means that if a street is resurfaced, the existing curb ramps on the

resurfaced street, that are part of the altered facility, must be brought into compliance with

the ADAAG requirements. The ADA requirements for altered facilities apply because the

curb cuts and curb ramps at the portions of corners directly affected by street resurfacing are

part of the resurfaced street. Accord Kinney, 9 F.3d at 1073; Ability Ctr. of Greater Toledo,

133 F. Supp. 2d at 591–92; Deck, 76 F. Supp. 2d at 822; 28 C.F.R. § 35.151(e). Different

standards apply to preexisting curb cuts and ramps that are not part of the altered facility

because the resurfacing work on the street does not extend to or affect those cuts and ramps.

Such curb cuts and ramps need not be modified or repaired when a cross-street is resurfaced,

even if they do not fully comply with the ADA standards for newly constructed or altered

curb ramps. These curb ramps are governed by § 35.150, the standards for existing facilities.

Absent an alteration such as street resurfacing that affects an existing curb or ramp, that curb

and ramp must meet the “usability” standard, not ADAAG or TAS requirements. This court

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finds that the newly adopted City policy establishing specific criteria for determining whether

existing curb ramps are “usable” is a reasonable and objective way of measuring accessibility

under this standard.

       This approach to whether existing curb ramps must be modified and, if so, under what

standard, is consistent with the testimony of the City’s accessibility consultant and expert

witness, Teresa Darr. She testified that if there are pedestrian crossings at intersections that

are on resurfaced streets, the City must have ADAAG-compliant curb ramps on those

intersections. Section 35.151(b) and (e) apply. (Docket Entry No. 122 at 406–08). Darr

also explained that “existing curb ramps which could . . . not serve pedestrian crossings on

the altered streets are not required to be altered or brought into compliance as a result of the

street overlay project.” (Id.; see also Ex. 8 at 12). But if the curb is on an intersection in a

pedestrian crossing on a resurfaced street, the existing curb ramps must be altered to meet

ADAAG standards.

       This approach also affects the number of curb ramps that must be built to ADA

compliance if a street is resurfaced. Curb ramps serving the portion of the intersection on

a cross-street that is not resurfaced are not part of the altered facility under § 35.151. If, for

example, a north-south street is resurfaced but the intersecting east-west street is not, the City

must bring the curb ramps serving the pedestrian crossings on the resurfaced street—namely,

the curb cuts and ramps (or places where such facilities should exist) on the north-south

street—into ADA compliance. The standards for compliance are set by § 35.151(e), the

standards for altered facilities. The City is not required to modify existing curb cuts and

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ramps on the intersecting east-west street as part of the resurfacing work, because those cuts

and ramps are not part of the altered facility, unless those ramps are not usable. The

“usability” standard under § 35.150 applies to the existing curb ramps that are in a pedestrian

route but not part of the altered, resurfaced street. This includes curb ramps that are on cross-

streets that were not resurfaced under the Spur 527 Traffic Mitigation Plan.

       Jones argues that because the City has not shown that all of the challenged curb ramps

were built before, and not altered after, the ADA’s effective date of January 26, 1992, the

“existing facilities” standard of § 35.150 cannot apply to any of the curb ramps. (Docket

Entry No. 127 at 1). Jones argues that under Rule 301 of the Federal Rules of Evidence, the

City has the burden of proving that the curb ramps not affected by street resurfacing were

built before the ADA’s 1992 effective date and not altered after that date. This argument is

not persuasive. Jones has the burden of proving that the challenged facilities were built after

1992 or that these facilities were not altered after 1992 in a way that requires the City

now—long after any such alterations were completed—to bring the curb ramps into

compliance with ADA standards that govern newly constructed or altered facilities. She has

had two evidentiary hearings and significant discovery, but submits only part of an Internet

print-out in support of her claim that certain curbs outside the Spur 527 Traffic Mitigation

Plan were altered by street overlays in 1996. This evidence is insufficient to require the City

to modify or repair existing all curb ramps to ensure compliance with the ADA standards

under § 35.151(e).



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        The City also argues that it has no obligation to install curb cuts and ramps in places

that are not “pedestrian routes,” or to modify existing ramps in such places to meet ADAAG

standards, even if such places are on streets that have been resurfaced. (Docket Entry No.

135 at 14–15).        Jones responds that the City has no objective basis for defining a

nonpedestrian route. (Docket Entry No. 127 at 32–34). The City relies on the language of

the regulations:

                (1) newly constructed or altered streets, roads and highways
                must contain curb ramps or other sloped areas at any
                intersection having curbs or other barriers to entry from a street
                level walkway;
                (2) newly constructed or altered street level pedestrian
                walkways must contain curb ramps or other sloped areas at
                intersections to streets, roads, or highways.

28 C.F.R. § 35.151(e)(1)–(2) (emphasis added).

        The regulatory language presupposes that a “street level pedestrian walkway” before

ADAAG-compliant curb cuts and ramps are required.15 The pedestrian route status is

determined by City officials. If no pedestrian route exists, the City has no obligation to

provide ADA-compliant access. As the City’s expert, Teresa Darr, pointed out, the ADA

does not affect municipal officials’ discretion to limit or discourage pedestrian traffic in

certain areas. This court agrees with the City that municipal government decisions to



        15
          Darr testified that she had multiple conversations with Department of Justice Technical Assistance
Line, which connected her with ADA compliance personnel who agreed with this approach. Additionally,
the DOJ representatives with whom Darr spoke stated that, in analyzing an altered street, the first step is to
determine if a pedestrian route exists. (Docket Entry No. 122 at 406). According to Darr, the DOJ Technical
Assistance Information Line provides formal guidance to the public, including businesses, state and local
governments, and individuals, on questions concerning the ADA. (Ex. 8 at 11).

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discourage pedestrian traffic in specific areas for safety reasons are not superseded by the

ADA.

       B.     Application

       As an initial matter, this court rejects the City’s apparent “failure to exhaust

administrative remedies” defense. The City elicited testimony about Jones’s PAR request

at the evidentiary hearing and throughout these proceedings. The ADA does not have an

exhaustion requirement. The record shows that Jones has attempted to resolve her concerns

with the City on multiple occasions. To the extent the City seeks a negative inference against

Jones for these efforts, that request is denied. The City’s work on certain curb ramps in

response to Jones’s PAR request is taken into account in determining whether the City has

complied with its ADA obligations.

       The curb cuts and ramps at issue can be placed into three categories: (1) those in

places that were part of an altered facility—streets resurfaced in the Spur 527 Traffic

Mitigation Plan—and in a pedestrian walkway; (2) those existing curb cuts and ramps that

are not affected by or part of the street resurfacing; and (3) those curb cuts and ramps that are

not in a pedestrian walkway. As to the first category, the City was required to install or

repair curb cuts and ramps that met the standards under § 35.151(b) and (e) in connection

with the street resurfacing work. The City’s failure to do so at the time of the resurfacing is

a violation of the ADA and the continued failure to do so is a continuing ADA violation.

The second category is subject to the subjective “usability” standard for existing ramps and



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curbs. For the third category, corners not in a pedestrian walkway, the City had no obligation

to bring the curbs and ramps into ADA compliance.

              1.       Curbs and Ramps that Must Meet § 35.151 Requirements

       Turning to the first category of curb cuts and ramps, those subject to ADAAG and

TAS requirements, this court finds that the following intersections have curb cuts and ramps,

but they fail to meet those requirements. The record shows that the City has not and does not

intend to repair or rebuild these ramps. These curb cuts and ramps must be repaired and, if

necessary, rebuilt to comply with ADAAG.

            Street 1                       Street 2                        Corner
 Fairview                       Elmen                          Southwest/South
 Fairview                       Hazard                         Southeast
 Fairview                       Huldy                          Northwest
 Fairview                       Huldy                          Northeast/North
 Fairview                       Huldy                          Southeast/North
 Fairview                       McDuffie                       Northeast
 Fairview                       Woodhead                       Northwest/North
 Greenbriar                     Norfolk                        Southwest
 Webster                        Austin                         Southeast
 Webster                        Bagby                          Northeast/East
 Webster                        Brazos                         Northwest/North
 Webster                        Crawford                       Southwest
 Webster                        Crawford                       Southeast
 Webster                        Jackson                        Northeast/North


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 Webster                         LaBranch                        Southwest/South
 West Alabama                    Dunlavy                         Northwest
 West Alabama                    Dunlavy                         Northeast
 West Alabama                    Dunlavy                         Southeast
 West Alabama                    Eastside                        Southeast
 West Alabama                    Garrott                         Southeast/South
 West Alabama                    Jack                            Southeast/South
 West Alabama                    Mandell                         Northeast/North
 West Alabama                    Montrose                        Northeast/North
 West Alabama                    Mt. Vernon                      Northeast/North
 West Alabama                    Mulberry                        Northeast/East
 West Alabama                    Mulberry                        Northeast/North
 West Alabama                    Stanford                        Northwest/North
 West Alabama                    Stanford                        Northeast/East
 West Alabama                    Stanford                        Southeast/South
 West Alabama                    Stanford                        Southeast/East
 West Alabama                    Yoakum                          Southwest/South
 Westheimer                      Midlane                         Southeast
 Westheimer                      Dunlavy                         Northeast
 Westheimer                      Yoakum                          Southwest/East

       This court has rejected the City’s argument that these ramps should be evaluated under

the less stringent “usability” standard of § 35.150. These ramps are part of the altered facility

and must comply with §35.151 requirements.




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       The City has also raised arguments at to specific locations. For example, the City

slated Westheimer at Woodhead, northwest corner, and Westheimer at Yoakum, southwest

corner (east), for transition repairs. The evidence shows that these ramps have slopes that

exceed those permitted under ADAAG. The transition repairs will not remedy the excessive

slope problem. Additional work on these ramps must be performed to comply with the

applicable ADAAG requirements for altered construction. For the ramp at Webster at

Brazos, northwest corner north, the City’s defense that TAS requires a textured surface only

for new, but not existing, construction does not respond to the court’s findings that the

altered-facilities standard applies and that this ramp has other deficiencies under those

standards. As noted above, this court agrees with the City that § 35.151 does not require a

level landing at the top of curb ramps.

       With respect to each of these corners, Jones has met the requirements for a permanent

injunction. These corners have curb ramps but they do not meet applicable ADA standards

for altered facilities.16 Failure to grant this injunction will result in irreparable injury to

Jones, who is unable to traverse certain City streets and sidewalks because of these

noncompliant ramps and curbs. The damage to Jones from a continuing ADA violation by

the City outweighs the cost to the City to bring these intersections into compliance. A

permanent injunction in Jones’s favor will not disserve the public interest; rather, the


       16
           This court further finds that these are not corners that were originally ADA-compliant but
later deteriorated; to the extent such a standard exists, it need not be applied here. These corners
have never been fully compliant with altered facilities requirements and must be brought into
compliance by the City.

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injunction will effectively serve the public interest by bringing curb ramps on altered City

streets into compliance with the ADA and making City streets more accessible to disabled

citizens.

       The parties are to provide the court a separate proposed order of injunction requiring

the City to repair these curbs and ramps to bring them into compliance including specific

timetables for accepting bids, signing contracts, commissioning the work, and completing

and inspecting the work.

       This court does not grant Jones’s request for an injunction to build additional new

curb cuts and ramps in places where none existed, beyond those the City has already built

or is committed to build. The City identified a number of corners that do not have curb cuts

or ramps within the Spur 527 Mitigation Plan, on streets that were resurfaced, that are in

pedestrian routes.17 The City has either built ramps in these areas or committed to do so,

under ADAAG and TAS standards. Further relief is not necessary to achieve ADA

compliance.

                 2.     Existing Curbs and Ramps Subject to the Usability Standard

        This court has found that existing curbs and ramps that are not part of the altered –

resurfaced – streets are subject to the § 35.150 “usability” standard. This court has also

found that the City has established, albeit belatedly, an appropriate standard for “usability”

that applies to existing curb ramps:



       17
            These curb ramps are listed in Appendix A to this opinion.

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   Existing Curb                Criteria                         Description
  Ramp Component
 Clear Width              Min. 32 inches           Clear width of curb ramp in the direction
                                                   of travel
 Running slope            Max. 12.5 percent        Curb ramp slopes up to 12.5 percent are
                          to 16 percent            considered usable and for short distances
                                                   of 2 feet, 16 percent is usable
 Cross slope              Max. 6 percent           Cross-slope of curb ramp
 Horizontal               Max. 1 inch              Faulting and cracking in the horizontal
 Faulting/Cracking
 Change in level          Max. 3/4 inch            Vertical change in level
 Change of Grade          Max. 19 percent          Difference between the combined grade
                                                   of two adjacent surfaces
 Surface                  Stable and firm          The surface should be stable, firm, and
                                                   slip resistant

(Docket Entry No. 134, Ex. B at 3).

       These criteria refer to ADAAG and TAS standards and are a result of the review that

Teresa Darr performed in her work on this case, as well as the field analysis and collective

efforts of the City Public Works Department. Jones did not introduce a competing

“usability” standard. Otten, Jones’s expert, conceded that the standard for existing curb cuts

and ramps is usability—but did not attempt to define the standard, instead relying wholly on

the ADAAG and TAS standards. The City’s criteria are less stringent than the ADAAG and

TAS requirements but provide a specific, reasonable, and objective guideline for measuring

“usability,” examining the different circumstances and factors that affect “reasonable




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accessibility” viewed as a whole. This court has found that the City’s policy adopting these

accessibility standards for “usability” of existing facilities is reasonable.

       With respect to the curb ramps that are not part of the Spur 527 Traffic Mitigation

Plan street resurfacing work, this court agrees with the City that the ADAAG and TAS

requirements for new or altered construction do not apply. The “usability” standard applies

to the following ramps and curbs:

            Street 1                        Street 2                         Corner
 Fairview                        Brun                            Northwest/West
 Fairview                        Brun                            Southeast/East
 Fairview                        Brun                            Northeast/East
 Fairview                        Brun                            Southwest/West
 Fairview                        Driscoll                        Northeast/North
 Fairview                        Driscoll                        Northwest/West
 Fairview                        Driscoll                        Southwest/West
 Fairview                        Dunlavy                         Southeast
 Fairview                        Elmen                           Northeast/East
 Fairview                        Elmen                           Northwest/West
 Fairview                        Elmen                           Southeast/East
 Fairview                        Elmen                           Southwest/West
 Fairview                        Huldy                           Southwest
 Fairview                        Huldy                           Northeast/East
 Fairview                        Morse                           Southeast
 Fairview                        Park Avenue                     Northeast/East
 Fairview                        Park Avenue                     Northwest/West


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Fairview                 Park Avenue               Southeast/East
Fairview                 Park Avenue               Southwest/West
Fairview                 Morse                     Northeast
Fairview                 Morse                     Northwest/East
Fairview                 South Shepherd            Northeast/East
Fairview                 Woodhead                  Northeast/East
Fairview                 Woodhead                  Southeast/East
Greenbriar               Norfolk                   Northwest
Greenbriar               Lexington                 Northeast
Greenbriar               Lexington                 Southeast
Greenbriar               Portsmouth                Northwest
Greenbriar               Portsmouth                Southwest
Greenbriar               Richmond                  Southwest
Richmond                 Eastside                  Southwest
Richmond                 Eastside                  Northeast
Richmond                 Eastside                  Northwest
Webster                  Brazos                    Northwest/West
Webster                  Caroline                  Northwest/West
Westheimer               Sackett                   Southeast
Westheimer               Helena                    Northwest/West
West Alabama             Graustark                 Southeast/East
West Alabama             Greeley                   Southeast
West Alabama             Greeley                   Southwest
West Alabama             Jack                      Southwest/West
West Alabama             Jack                      Southeast/East



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West Alabama             Montrose                  Southeast/East
Westheimer               Mount Vernon              Southeast
Westheimer               Taft                      Northeast/East
Westheimer               Yupon                     Southwest/West
Westheimer               Yupon                     Northeast/East
Webster                  Brazos                    Southwest/West
Webster                  Brazos                    Southeast/East
Webster                  Brazos                    Northeast/East
Webster                  Caroline                  Southwest/West
Webster                  Caroline                  Southeast/East
West Alabama             Driscoll                  Southwest/West
West Alabama             Day                       Southwest
Webster                  Jackson                   Southeast/East
Webster                  Jackson                   Northeast/East
Webster                  LaBranch                  Northwest/West
Webster                  LaBranch                  Southwest/West
Webster                  LaBranch                  Southeast/East
Webster                  Louisiana                 Northeast
Webster                  Louisiana                 Southwest
West Alabama             Flora                     Northwest/West
West Alabama             Flora                     Northeast/East
West Alabama             Garrott                   Northwest/West
West Alabama             Garrott                   Northeast/East
West Alabama             Graustark                 Northwest/West
West Alabama             Graustark                 Northeast/East



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West Alabama            Graustark                 Southwest/West
West Alabama            McDuffie                  Southwest
West Alabama            Montrose                  Northwest/West
West Alabama            Montrose                  Northeast/East
West Alabama            Mulberry                  Southeast/East
West Alabama            Revere                    Northeast/East
West Alabama            Roseland                  Southeast/East
West Alabama            Roseland                  Northeast/East
West Alabama            Roseland                  Northwest/West
Westheimer              Bellmeade                 Northeast
Westheimer              Bellmeade                 Northwest
Westheimer              Brun                      Northwest
Westheimer              California                Northeast
Westheimer              California                Northwest
Westheimer              Commonwealth              Northeast/East
Westheimer              Commonwealth              Northwest/West
Westheimer              Commonwealth              Southeast/East
Westheimer              Commonwealth              Southwest/West
Westheimer              Helena                    Northeast/East
Westheimer              Larchmont                 Northeast
Westheimer              Larchmont                 Northwest
Westheimer              Mandell                   Northwest/West
Westheimer              Mandell                   Southwest/West
Westheimer              Mount Vernon              Southwest
Westheimer              Persa                     Southeast



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 Westheimer                   Sackett                     Southwest
 Westheimer                   Stanford                    Southwest/West
 Westheimer                   Suffolk                     Southeast
 Westheimer                   Taft                        Southwest/West
 Westheimer                   Waughcrest                  Northwest
 Westheimer                   Windsor                     Northeast
 Westheimer                   Windsor                     Northwest
 Westheimer                   Woodhead                    Northeast/East
 Westheimer                   Yupon                       Southeast/East

      The City has found unusable and replaced the existing curb ramps with ADAAG- and

TAS-compliant ramps at the following intersections:

            Street 1                     Street 2                     Corner
 Fairview                     Brun                        Northwest/West
 Fairview                     Elmen                       Southeast/East
 Fairview                     Driscoll                    Northeast/East
 Fairview                     Morse                       Northwest/East
 Fairview                     Morse                       Northeast
 Fairview                     Park Avenue                 Northeast/East
 Fairview                     Park Avenue                 Northwest/West
 Fairview                     Park Avenue                 Southeast/East
 Fairview                     Park Avenue                 Southwest/West
 Greenbriar                   Richmond                    Southwest
 Webster                      Caroline                    Northwest/West
 West Alabama                 Graustark                   Southeast/East


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West Alabama            Montrose                  Southeast/East
West Alabama            Flora                     Northwest/West
West Alabama            Flora                     Northeast/East
West Alabama            Garrott                   Northwest/West
West Alabama            Graustark                 Northwest/West
West Alabama            Graustark                 Northeast/East
West Alabama            Graustark                 Southwest/West
West Alabama            Revere                    Northeast/East
West Alabama            Roseland                  Southeast/East
West Alabama            Roseland                  Northeast/East
West Alabama            Roseland                  Northwest/West
Westheimer              California                Northwest
Westheimer              Commonwealth              Southwest/West
Westheimer              Commonwealth              Northwest/West
Westheimer              Commonwealth              Northeast/East
Westheimer              Mount Vernon              Southwest
Westheimer              Sackett                   Southeast
Westheimer              Suffolk                   Southeast
Westheimer              Waughcrest                Northwest
Westheimer              Windsor                   Northeast
Westheimer              Windsor                   Northwest
Westheimer              Woodhead                  Northeast/East
Westheimer              Bellmeade                 Northeast
Westheimer              Bellmeade                 Northwest




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Because these ramps were replaced with ADAAG-compliant ramps, the City has met its legal

obligation.

       The evidence shows that the City, albeit belatedly and because of this lawsuit, has

reviewed the existing intersections about which Jones registered complaints and has repaired,

rebuilt, or slated for construction the corners that are not “usable.” Jones has not presented

evidence showing that a specific curb ramp that the City deemed “usable” is, in fact,

unusable. Jones has not shown that an existing curb ramp that fails to meet the City’s

“usability” standard has not been corrected or slated for correction. No permanent injunction

is warranted for existing curb ramps that are subject to the usability standard under § 35.150.

              3.        Corners that Are Not in a Pedestrian Walkway

       The ADA requirements do not apply to a curb that is not in a pedestrian route. Jones

complains that the City belatedly attached the “no pedestrian zone” label to certain areas to

avoid ADA compliance. The evidence does not support this conclusion. The evidence

shows that the corners the City has designated as in “no pedestrian zones” are limited to areas

where the City wants to discourage or prohibit pedestrian access. The City’s witnesses were

credible on this issue. The significant data and documentation as to these areas do not

indicate overreaching or after-the-fact determinations by the City. The corners outside a

pedestrian route are:

              Street 1                          Street 2                     Corner
 Webster                              Chenevert                      Northeast
 Webster                              Chenevert                      Northwest

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Webster                      Chenevert                 Southwest
Webster                      Chenevert                 Southeast
West Alabama                 Brandt                    Southwest
West Alabama                 Brandt                    Southeast
West Alabama                 Bute                      Southwest
West Alabama                 Bute                      Southeast/East
West Alabama                 Huldy                     Northeast
West Alabama                 Huldy                     Northwest
Westheimer                   Brun                      Northeast
Westheimer                   Crocker                   Northwest
Westheimer                   Crocker                   Northeast
Westheimer                   Dickey                    Northwest
Westheimer                   Driscoll                  Northwest
Westheimer                   Eastgrove                 Southeast
Westheimer                   Eastside                  Northwest
Westheimer                   Eastside                  Northeast
Westheimer                   Elmen                     Northeast
Westheimer                   Elmen                     Northwest
Westheimer                   Ferndale                  Southeast
Westheimer                   Ferndale                  Southwest
Westheimer                   Graustark                 Southeast
Westheimer                   Graustark                 Southwest
Westheimer                   Greenbriar                Southwest/West
Westheimer                   Greenbriar                Southeast
Westheimer                   Greenbriar                Southwest/South


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 Westheimer                         Huldy                         Northeast
 Westheimer                         Huldy                         Northwest
 Westheimer                         Kuester                       Northeast
 Westheimer                         Lincoln                       Northeast
 Westheimer                         Lincoln                       Northwest
 Westheimer                         McDuffie                      Northeast/North
 Westheimer                         McDuffie                      Northwest
 Westheimer                         Morse                         Northeast
 Westheimer                         Morse                         Northwest
 Westheimer                         Mulberry                      Southwest
 Westheimer                         Mulberry                      Northwest
 Westheimer                         Park                          Northeast
 Westheimer                         Park                          Northwest
 Westheimer                         Persa                         Southwest
 Westheimer                         Ralph                         Northwest
 Westheimer                         Timmons                       Southwest
 Westheimer                         Virginia                      Southeast
 Westheimer                         Westcreek                     Northeast
 Westheimer                         Westcreek                     Northwest/West
 Westheimer                         Westcreek                     Northwest/North

        Additionally, the City installed new curb ramps, which were ADAAG-compliant, at

the following intersections, even while asserting that there was no legal requirement to do

so:




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             Street 1                        Street 2                         Corner
 Webster                          Chenevert                       Northwest
 Westheimer                       Eastside                        Northwest
 Westheimer                       Eastside                        Northeast
 Westheimer                       Elmen                           Northeast
 Westheimer                       Elmen                           Northwest
 Westheimer                       Graustark                       Southwest
 Westheimer                       Park                            Northwest

         Applying the City’s usability criteria, Darr concluded that the following non-

pedestrian route corners had “usable” existing curb ramps:

             Street 1                        Street 2                         Corner
 Westheimer                       Park                            Northeast
 Westheimer                       Westcreek                       Northeast
 Westheimer                       Westcreek                       Northwest/West
 Westheimer                       Westcreek                       Northwest/North

         Darr concluded that 48 corners were not in pedestrian routes. Of those 48 corners, the

City nevertheless constructed 7 new, ADAAG-compliant curb ramps and Darr concluded that

another 4 corners were “usable” under the City’s usability criteria.

         Jones has not shown a basis for an injunction as to corners that are not in a pedestrian

route.

                4.      Ramps Not in the City’s Jurisdiction




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       Some of the corners Jones identified as noncompliant are on land that the evidence

shows is controlled by the Texas Department of Transportation (TXDOT), not the City. The

following corners fall into this category:

 Street 1                       Street 2                      Corner
 Greenbriar                     US 59                         NE under freeway
 Greenbriar                     US 59                         NW under freeway
 Greenbriar                     US 59                         SE
 Greenbriar                     US 59                         SE under freeway
 Greenbriar                     US 59                         SW
 Greenbriar                     US 59                         SW under freeway
 Greenbriar                     US 59                         NE

       The City has no duty to install or maintain ADA-compliant curb cuts and ramps at

these corners. TXDOT is not a party to this lawsuit. Jones has not shown a basis for an

injunction as to the curb cuts and ramps at these corners.

V.     The Claims against METRO

       METRO contends that most of Jones’s claims are moot or that the evidence has shown

the claims to be untimely under the statute of limitations. (Docket Entry No. 132 at 10–12).

Jones responds that this court’s previous Memorandum and Order rejected these arguments.

(Docket Entry No. 133 at 2–5). In the September 29, 2004 Memorandum and Order, this

court determined that Jones had sufficiently alleged a continuing violation so to avoid

METRO’s statute of limitations defense. (Docket Entry No. 64 at 22–23, 28–29). This



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ruling, which in part denied the defendants’ motions to dismiss, did not prevent METRO

from reurging this defense after additional factual development.

       “A controversy is mooted when there are no longer adverse parties with sufficient

legal interests to maintain the litigation. A moot case presents no Article III case or

controversy, and a court has no constitutional jurisdiction to resolve the issues it presents.”

United States v. Lares-Meraz, 452 F.3d 352, 354–55 (5th Cir. 2006) (quoting Goldin v.

Bartholow, 166 F.3d 710, 717 (5th Cir. 1999) (additional citations omitted)). “Accordingly,

an actual, live controversy must remain at all stages of federal court proceedings, both at the

trial and appellate levels. That is, the requisite personal interest that must exist at the

commencement of the litigation (standing) must continue throughout its existence

(mootness).” Id. (quoting de la O v. Hous. Auth. of El Paso, 417 F.3d 495, 499 (5th Cir.)

(internal quotation marks and citations omitted), cert. denied, __ U.S. __, 126 S. Ct. 808

(2005)); see also Spencer v. Kemna, 523 U.S. 1, 7 (1998); United States v. Clark, 193 F.3d

845, 847 (5th Cir. 1999). Whether a case is moot is a jurisdictional issue because it

implicates Article III’s requirement of a live case or controversy. Bailey v. Southerland, 821

F.2d 277, 278 (5th Cir. 1987). Because mootness is a jurisdictional issue, a party may raise

it at any time in the litigation and a court may—indeed must—raise the issue sua sponte if

a case or claim becomes moot. Lares-Meraz, 452 F.3d at 355 (citing Donovan v. Air Trans.,

Dist. Lodge No. 146, 754 F.2d 621, 624 (5th Cir. 1985); Bailey, 821 F.2d at 278).

       At the December 2005 evidentiary hearing, Jones, through counsel, conceded that she

lacked personal knowledge of virtually all the traffic signals about which she complained.

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Jones’s complaints about installation of new poles in METRO’s RCTCS Project that

disrupted the surrounding sidewalk was limited to the following three intersections: (1) San

Felipe at Voss; (2) Kirby at North Braeswood; and (3) Stanford at Alabama.18 (Docket Entry

No. 121 at 131–32). With respect to the third intersection, Stanford at Alabama, Jones did

not articulate a specific complaint against METRO. She did not assert difficulty in accessing

the traffic signal at this intersection. Otten did not include concerns about this traffic signal

in his report. In her deposition, Jones complained only about the lack of barriers around the

construction area at that site, not about the METRO traffic control signal. (Docket Entry No.

132, Ex. 2 at 358–61). With respect to the first two intersections, the evidence showed that

METRO’s work has been complete at these intersections for over ten years and that both

intersections have been subject to significant construction by other entities in the intervening

period.

        Jones’s claims against METRO are moot.19 The record does not show that METRO

intends to continue or repeat the RCTCS Project work at these intersections. Jones cannot

show a reasonable anticipation that the asserted harm will recur. See generally City of Los

Angeles v. Lyons, 461 U.S. 95 (1983).




        18
          This can also be viewed as proof that Jones lacks standing to challenge any METRO activity
beyond these three intersections. See, e.g., Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).
        19
           This evidence similarly indicates a related jurisdictional issue, redressability. The significant time
gap coupled with the very minimal control that METRO may exercise over this area raise additional
jurisdictional concerns. Discovery and further factual development clarified these problems.

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       Jones’s claims against METRO, other than for the three intersections about which she

testified, are dismissed. The evidence shows that the three intersections about which Jones

complains are not in violation of the governing requirements, or, alternatively, that any ADA

violation at these curbs has not been caused by METRO. The claims against METRO are

dismissed.

V.     Conclusion

       Jones’s claims against METRO are dismissed with prejudice.

       Jones’s motion for interim attorneys’ fees is denied without prejudice.

       Jones’s motion for reconsideration is denied.

       Jones’s claims against the City are granted in part and denied in part. The City must

perform repair or construction work necessary to bring the following curb cuts and ramps

into compliance with ADAAG and TAS:

             Street 1                     Street 2                         Corner
 Fairview                       Elmen                          Southwest/South
 Fairview                       Hazard                         Southeast
 Fairview                       Huldy                          Northwest
 Fairview                       Huldy                          Northeast/North
 Fairview                       Huldy                          Southeast/North
 Fairview                       McDuffie                       Northeast
 Fairview                       Woodhead                       Northwest/North
 Greenbriar                     Norfolk                        Southwest
 Webster                        Austin                         Southeast


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Webster                  Bagby                     Northeast/East
Webster                  Brazos                    Northwest/North
Webster                  Crawford                  Southwest
Webster                  Crawford                  Southeast
Webster                  Jackson                   Northeast/North
Webster                  LaBranch                  Southwest/South
West Alabama             Dunlavy                   Northwest
West Alabama             Dunlavy                   Northeast
West Alabama             Dunlavy                   Southeast
West Alabama             Eastside                  Southeast
West Alabama             Garrott                   Southeast/South
West Alabama             Jack                      Southeast/South
West Alabama             Mandell                   Northeast/North
West Alabama             Montrose                  Northeast/North
West Alabama             Mt. Vernon                Northeast/North
West Alabama             Mulberry                  Northeast/East
West Alabama             Mulberry                  Northeast/North
West Alabama             Stanford                  Northwest/North
West Alabama             Stanford                  Northeast/East
West Alabama             Stanford                  Southeast/South
West Alabama             Stanford                  Southeast/East
West Alabama             Yoakum                    Southwest/South
Westheimer               Midlane                   Southeast
Westheimer               Dunlavy                   Northeast
Westheimer               Yoakum                    Southwest/East



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       The parties are to confer on a reasonable timetable for such work and submit a

proposed form of permanent injunction order no later than September 15, 2006.

       The parties are ordered to advise this court as to the issues remaining in this case,

including damages and fees, and a proposed schedule for resolving them, no later than

September 15, 2006. A hearing will be held on September 26, 2006, at 10:00 a.m. to set

a schedule to conclude this case.

              SIGNED on August 29, 2006, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge




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  Appendix A: Corners Where New Curb Ramps Compliant with ADAAG/TAS
        Standards Have Been or are Under Contract to be Constructed

           Street 1                   Street 2               Corner
Kirby                      Ella Lee                   Northeast
Kirby                      Ella Lee                   Northwest
Kirby                      Ella Lee                   Southeast
Kirby                      Ella Lee                   Southwest
Kirby                      Locke                      Northeast
Kirby                      Locke                      Northwest
Kirby                      Locke                      Southeast
Kirby                      Locke                      Southwest
Kirby                      Steel                      Northwest
Kirby                      Steel                      Southwest
Fairview                   Brun                       Northeast/North
Fairview                   Driscoll                   Southeast
Fairview                   Driscoll                   Northwest/North
Fairview                   Elmen                      Northwest/North
Fairview                   Elmen                      Northeast/North
Fairview                   Elmen                      Southeast/South
Fairview                   Hazard                     Southeast
Fairview                   Hazard                     Southwest
Fairview                   Hazard                     Northeast
Fairview                   Hazard                     Northwest
Fairview                   McDuffie                   Northwest
Fairview                   McDuffie                   Southeast
Fairview                   McDuffie                   Southwest

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Fairview                   Park Avenue                Northeast/North
Fairview                   Park Avenue                Southeast/South
Fairview                   Park Avenue                Southwest/South
Fairview                   South Shepherd             Northeast/North
Fairview                   South Shepherd             Southeast/South
Fairview                   Woodhead                   Northeast/North
Fairview                   Woodhead                   Northwest/North
Fairview                   Woodhead                   Southeast/North
Webster                    Austin                     Northeast
Webster                    Austin                     Northwest
Webster                    Austin                     Southwest
Webster                    Bagby                      Southeast/East
Webster                    Brazos                     Northwest/North
Webster                    Caroline                   Northeast/East
Webster                    Caroline                   Northeast/North
Webster                    Caroline                   Southeast/South
Webster                    Chenevert                  Northwest
Webster                    Crawford                   Northeast
Webster                    Jackson                    Northwest
Webster                    Jackson                    Southwest
Webster                    LaBranch                   Northeast
West Alabama               Argonne                    Northeast
West Alabama               Argonne                    Northwest
West Alabama               Bute                       Southeast/South
West Alabama               Dunlavy                    Southwest


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West Alabama              Edloe                      Northeast
West Alabama              Edloe                      Northwest
West Alabama              Eastside                   Southwest
West Alabama              Ferndale                   Northeast
West Alabama              Ferndale                   Northwest
West Alabama              Flora                      Northeast/North
West Alabama              Flora                      Northwest/North
West Alabama              Garrott                    Southeast/East
West Alabama              Graustark                  Northwest/North
West Alabama              Graustark                  Northeast/South
West Alabama              Graustark                  Southeast/South
West Alabama              Mandell                    Southwest/South
West Alabama              Mandell                    Northeast/East
West Alabama              Mandell                    Northwest
West Alabama              Montrose                   Southwest
West Alabama              Montrose                   Southeast/South
West Alabama              Mulberry                   Northeast/North
West Alabama              Mount Vernon               Northwest/North
West Alabama              Mount Vernon               Northwest/West
West Alabama              Mulberry                   Northwest/North
West Alabama              Mulberry                   Northwest/West
West Alabama              Mulberry                   Southeast/Southeast
West Alabama              Mulberry                   Southwest/South
West Alabama              Mulberry                   Southwest/West
West Alabama              Revere                     Northeast/North



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West Alabama              Revere                     Northwest
West Alabama              Revere                     Southwest/South
West Alabama              Roseland                   Northwest/North
West Alabama              Stanford                   Southeast/East
West Alabama              Timmons                    Northeast
West Alabama              Timmons                    Northwest
West Alabama              Wesleyan                   Northwest
West Alabama              Wesleyan                   Northeast
West Alabama              Yoakum                     Northeast/East
West Alabama              Yoakum                     Northeast/North
West Alabama              Yoakum                     Northwest/North
West Alabama              Yoakum                     Southwest/West
West Alabama              Yupon                      Northeast/North
West Alabama              Yupon                      Northwest/West
West Alabama              Yupon                      Northwest/North
West Alabama              Yupon                      Southwest/South
West Alabama              Yupon                      Southwest/West
Westheimer                Argonne                    Southeast
Westheimer                Argonne                    Southwest
Westheimer                Buffalo Speedway           Southeast
Westheimer                Claremont                  Northeast
Westheimer                Commonwealth               Northwest/North
Westheimer                Commonwealth               Northeast/North
Westheimer                Commonwealth               Southwest/South
Westheimer                Drexel                     Southeast



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Westheimer                Drexel                     Southwest
Westheimer                Dunlavy                    Northwest
Westheimer                Dunlavy                    Southeast
Westheimer                Dunlavy                    Southwest
Westheimer                Eastside                   Northwest
Westheimer                Eastside                   Northeast
Westheimer                Grant                      Northeast
Westheimer                Grant                      Northwest
Westheimer                Hazard                     Northeast
Westheimer                Hazard                     Northwest
Westheimer                Hazard                     Southeast
Westheimer                Kingston                   Northwest
Westheimer                Kirby                      Northwest
Westheimer                Kirby                      Southeast/East
Westheimer                Kirby                      Southeast/South
Westheimer                Kirby                      Southwest
Westheimer                Lake                       Northeast
Westheimer                Lake                       Northwest
Westheimer                Maconda                    Northeast
Westheimer                Mandell                    Southwest/South
Westheimer                Mandell                    Southeast
Westheimer                Mason                      Northeast/East
Westheimer                Mason                      Northwest
Westheimer                Mid Lane                   Northwest
Westheimer                Montrose                   Northeast



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Westheimer                Montrose                   Northwest
Westheimer                Newman                     Southeast
Westheimer                Newman                     Southwest
Westheimer                Peckham                    Southeast
Westheimer                Peckham                    Southwest
Westheimer                Revere                     Southwest
Westheimer                River Oaks Blvd.           Northeast
Westheimer                Stanford                   Northeast
Westheimer                Taft                       Northeast/North
Westheimer                Taft                       Northwest
Westheimer                Taft                       Southeast
Westheimer                Waugh                      Northeast
Westheimer                Westgate                   Northeast
Westheimer                Westgate                   Southeast
Westheimer                West Lane Drive            Northwest
Westheimer                Whitney                    Northeast
Westheimer                Whitney                    Northwest
Westheimer                Whitney                    Southwest
Westheimer                Woodhead                   Northeast/North
Westheimer                Woodhead                   Northwest
Westheimer                Woodhead                   Southwest
Westheimer                Yoakum                     Southwest/North




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